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                            1     APPEARANCES:                                           1               PROCEEDINGS
                            2                                                            2         MS. VENZA: I'm going to move on to the next
                                    DENESE VENZA, ESQ.
                            3       Venza Law, PLLC                                      3      exhibit, which would be Exhibit 6.
                                    931 Village Boulevard, #905-322                      4         (Plaintiff's Exhibit 6 was marked for
                            4       West Palm Beach, Florida 33409                       5      identification.)
                                    Dvenza@venzalawpllc.com
                            5                                                            6             DIRECT EXAMINATION (Cont'd)
                                    MARCY I. LAHART, ESQ.                                7   BY MS. VENZA:
                            6       Marcy I. Lahart, P.A.
                                    207 SE Tuscawilla Road
                                                                                         8      Q. Did you have a chance to look at that?
                            7       Micanopy, Florida 32667                              9      A. Yes.
                                    Marcy@floridaanimallawyer.com                       10      Q. In Exhibit 6 is an email at the very top from
                            8
                                    Counsel for Plaintiff                               11   Denis Frain or Fran?
                           9                                                            12      A. Yes.
                          10        ELISABETH FONTUGNE, ESQ.                            13      Q. To Tony Fields and George Pinizzotto. Is that
                                    Cole, Scott & Kissane
                          11        4301 West Boy Scout Boulevard, #400                 14   pretty accurate, even if I mispronounced that last name?
                                    Tampa, Florida 33607                                15      A. Yes.
                          12        Elisabeth.Fontugne@csklegal.com                     16      Q. The Denis Frain, is that the Denis who's being
                          13        Counsel for Defendant
                          14                                                            17   referred to in Deposition Exhibit, I think maybe 3? It
                          15                                                            18   was the Jim O'Reilly's email to the Mayor that said,
                          16
                          17
                                                                                        19   "Denis, David and I met with Commodore this past
                          18                                                            20   Tuesday." And you did not recall who Denis was.
                          19                                                            21      A. Right.
                          20
                          21                                                            22      Q. Okay. So do we now know who Denis was?
                          22                                                            23      A. Yes.
                          23                                                            24      Q. Who is that?
                          24
                          25                                                            25      A. He is the Harbor Master of Gulfport.



                                                                                                       1 (Pages 152 to 155)
                                                             Executive Reporting Service                               EXHIBIT 29
Electronically signed by Jerry Lefler (101-146-393-3289)
Electronically signed by Jerry Lefler (101-146-393-3289)                                                                  867e4e90-9146-484b-8ae2-18b95be5e4a9
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                                                                           Page 156                                                        Page 158
                            1        Q. What is that?                                         1         Is she referring to a different Jenn? It has
                            2        A. He's in charge of the marine district for             2   one "n." Is that a different Jenn?
                            3     Gulfport.                                                   3      A. Jenn is our Windward -- at that time, she was
                            4        Q. He works for the city?                                4   working on the website as well.
                            5        A. Yes.                                                  5      Q. January 2019?
                            6        Q. Below it, in the body of that email, it's from        6      A. Right. Jenn Rogers.
                            7     Nicholas Joseph Southard. That would be you, correct?       7      Q. Okay. So the Jenn Buckley is referring to a
                            8        A. Yes.                                                  8   Jenn Rogers in the body of this, and she is stating --
                            9        Q. Dated Wednesday, January 23rd, 2019, 8:30 a.m.,       9   "she" being Jenn Buckley -- Buckley is stating, "so I'm
                          10      and it's to Denis, correct?                                10   helping Sheri and Jenn Rogers with the Directory and
                          11         A. Yes.                                                 11   when I pulled the membership data to clean up and
                          12         Q. So it was an email you were sending to Denis.        12   standardize it I found some odd information. So I
                          13         A. Yes.                                                 13   looked into it and I found this," highlighted. "Also
                          14         Q. And that then Denis sent on to somebody else,        14   the home address she listed is the same as Ray
                          15      apparently, in the city, correct?                          15   Rodriguez.
                          16         A. Yes.                                                 16         And the subject line of this email is "FYI-
                          17         Q. In the body of the email from you to Denis, it       17   SR's profile page." Did I read that correctly?
                          18      states, "Denis, the plot thickens!" Correct?               18      A. Yes.
                          19         A. Yes.                                                 19      Q. Pretty fair to assume that SR is Samantha Ring?
                          20         Q. And you are referring to, I believe -- And           20      A. Yes.
                          21      correct me if I'm wrong -- a forwarded message at the      21      Q. Okay. Do you know what this is in reference
                          22      bottom. Would that be fair?                                22   to, "Also the home address she listed is the same as Ray
                          23         A. Yes.                                                 23   Rodriguez"? What's that all about?
                          24         Q. And that forwarded message being, is from Jenn       24      A. It's another address she gave where she's
                          25      B. Is Jenn B. the Jenn -- What's her last name?            25   living at. And we know from Ray Rodriguez's wife


                                                                           Page 157                                                        Page 159
                           1         A. Buckley.                                              1   that -- and from her children that actually stay there
                           2         Q. Buckley, who had the compelling information?          2   occasionally that she has never spent a night there. So
                           3      Is that the same Jenn B.?                                   3   it was misleading information that was actually her
                           4         A. Yes.                                                  4   address.
                           5         Q. And it's dated January 22nd, 2019, at 5:26 p.m.       5      Q. What's the significance of this?
                           6      And it's to Nick and Betty Southard. So it's to you and     6      A. The significance of this? It's part of being
                           7      your wife, correct?                                         7   accountable to what you say. Basically lying.
                           8         A. That's how it appears, yes.                           8      Q. So in January 2019, Samantha Ring's address is
                           9         Q. Although that email address Nsouthard@att.net,        9   suddenly important?
                          10      is that a different email address?                         10      A. Yes.
                          11         A. It's the same one. It does not go to Betty           11      Q. Okay. Is that because she had filed a claim
                          12      Southard, though.                                          12   with the Pinellas County Office of Human Resources for
                          13         Q. Does your wife hold any administrative               13   discrimination by the Boca Ciega Yacht Club?
                          14      positions in the yacht club?                               14          MS. FONTUGNE: Objection.
                          15         A. No.                                                  15          THE DEPONENT: No.
                          16         Q. Has she ever?                                        16   BY MS. VENZA:
                          17         A. Merchandise.                                         17      Q. Is that because she said she was -- she had
                          18         Q. Is that a committee?                                 18   filed her federal lawsuit against Boca Ciega Yacht Club?
                          19         A. Yes.                                                 19          THE DEPONENT: No.
                          20         Q. And that's selling things like T-shirts and          20          MS. FONTUGNE: Objection.
                          21      stuff with the club's logo on it?                          21   BY MS. VENZA:
                          22         A. Right.                                               22      Q. And you felt it prudent to forward this to
                          23         Q. So then the email that all started this was          23   Denis Frain, correct?
                          24      from Jenn to you, and it says, "So I'm helping Sheri and   24      A. Yes.
                          25      Jenn with the directory."                                  25      Q. And you in fact said, "The plot thickens,"



                                                                                                            2 (Pages 156 to 159)
                                                             Executive Reporting Service

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Electronically signed by Jerry Lefler (101-146-393-3289)                                                                       867e4e90-9146-484b-8ae2-18b95be5e4a9
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                                                                         Page 160                                                      Page 162
                           1      correct?                                                  1   member, correct?
                           2         A. Yes.                                                2     A. Correct.
                           3         Q. Did you ever ask Samantha Ring about the home       3     Q. So you were purposely forwarding internal club
                           4      address she listed, or the allegations of Ray             4   business to others, correct?
                           5      Rodriguez's wife?                                         5         MS. FONTUGNE: Objection.
                           6         A. At this time, we no longer talked. As I said        6         THE DEPONENT: As he represents the city,
                           7      previously, I referred everything to attorneys. This      7     and also helped negotiating our lease, he's part
                           8      has to do with the investigation.                         8     of it, I felt an obligation to let him know what
                           9         Q. So at this point, January 22nd, the answer is       9     was going on.
                          10      "No," you never discussed this with her. Is that a       10   BY MS. VENZA:
                          11      correct statement?                                       11     Q. So your position about internal club member
                          12         A. Yes.                                               12   business being internal club member business is only
                          13         Q. Did you talk to Ray Rodriguez about this?          13   when it suits Boca Ciega Yacht Club's needs, correct?
                          14         A. No.                                                14     A. The Commodore has that discretion.
                          15         Q. Anything to stop you from talking to Ray           15         MS. FONTUGNE: Objection.
                          16      Rodriguez about it?                                      16   BY MS. VENZA:
                          17         A. No.                                                17     Q. I didn't hear you.
                          18         Q. Why did you forward this to Denis Frain?           18     A. The Commodore has that discretion.
                          19         A. As being the Harbor Master, he's responsible       19     Q. So that's a "Yes"?
                          20      for the slips and the slip rentals. By her claiming      20     A. Yes.
                          21      that she lived in Gulfport gave her a discount for her   21     Q. In your discretion, you can do that.
                          22      slip.                                                    22     A. Yes.
                          23         Q. Do you mention anything in the forward about       23     Q. Okay. At the time of January 22nd, 2019, do
                          24      slip rentals and fees? Is that stated anywhere in your   24   you know if Ray Rodriguez's wife lived -- do you know
                          25      forward to Denis?                                        25   where she lived?


                                                                         Page 161                                                      Page 163
                           1         A. I don't recall.                                     1      A. Yes.
                           2         Q. Well, I'm looking at it. Does it state              2      Q. How do you know where she lived?
                           3      anywhere --                                               3      A. I seen her physically at that address, as well
                           4         A. No.                                                 4   as she has an address in the directory that's the same
                           5         Q. Okay.                                               5   as where she lives, physically lives at.
                           6         A. Not on the email.                                   6      Q. What's the address?
                           7         Q. But instead, it states, "The plot thickens."        7      A. I don't have it memorized. Sorry.
                           8      What did you mean by that? What plot?                     8      Q. So you saw Mrs. Rodriguez at --
                           9         A. The plot of multiple addresses that were given      9      A. Actually, her name is Ann Nu.
                          10      by Samantha.                                             10      Q. Ann --
                          11         Q. What do you mean by "plot"? How is that a          11      A. Ann Nu is her name.
                          12      plot?                                                    12      Q. You saw Ann Nu at a physical address.
                          13         A. Deceive, lie to the city.                          13      A. Where she says she resides at, yes.
                          14         Q. Well, there's --                                   14      Q. In January 2019.
                          15         A. It's my --                                         15      A. Yes.
                          16         Q. There's plots to a story, right?                   16      Q. And you saw her there. So you saw her outside.
                          17         A. Yeah. There's a story. That's what I'm             17      A. I seen her in the past there. Not particularly
                          18      saying: There's a story.                                 18   that date.
                          19         Q. This is a story. And it's to deceive.              19      Q. So you saw her at a physical house, and so you
                          20            This is also around the time that you decided      20   assumed that she lived there based on that.
                          21      to unilaterally hire a private investigator, right?      21      A. No, I didn't assume that. She already had it
                          22         A. Yes.                                               22   in the directory where she lived at.
                          23            MS. FONTUGNE: Objection.                           23      Q. A couple can be married and separate, correct?
                          24      BY MS. VENZA:                                            24      A. You asked me where she lived at. That's where
                          25         Q. Denis Frain was not a Boca Ciega Yacht Club        25   she said.


                                                                                                         3 (Pages 160 to 163)
                                                            Executive Reporting Service

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                                                                          Page 164                                                      Page 166
                            1        Q. And now I'm asking you a new question. A             1     A. I just asked you if it would be helpful.
                            2     couple can be married and separate, correct?               2     Q. Is that in an affidavit?
                            3        A. Yes.                                                 3     A. It's in -- yes.
                            4        Q. Okay. And then they could live in separate           4     Q. So that's among one of the ones. So you did
                            5     residences, correct?                                       5   help solicit that affidavit?
                            6        A. Yes.                                                 6     A. Yes.
                            7        Q. And they can have children together and have         7     Q. Do you know if there's any bad feelings by
                            8     custody exchange of those children, correct?               8   Mrs. Rodriguez against Samantha Ring?
                            9        A. Yes.                                                 9         MS. FONTUGNE: Objection.
                          10         Q. And so it's possible that Ray Rodriguez and his     10         THE DEPONENT: I do not know.
                          11      wife had become separated and Mrs. -- or Ann was taking   11   BY MS. VENZA:
                          12      the children over to the house she once shared with       12     Q. Could that be something added to the plot?
                          13      Mr. Rodriguez but no longer shared with him. Possible,    13     A. It would.
                          14      correct?                                                  14         MS. FONTUGNE: Objection.
                          15            MS. FONTUGNE: Objection.                            15         MS. VENZA: I'm going to show you what I'd
                          16            THE DEPONENT: I don't know.                         16     like to have marked as deposition Exhibit 7.
                          17      BY MS. VENZA:                                             17         (Plaintiff's Exhibit 7 was marked for
                          18         Q. So you just made an assumption as to where          18     identification.)
                          19      Mrs. Rodriguez lived on January 22nd, 2019, correct?      19   BY MS. VENZA:
                          20            MS. FONTUGNE: Objection.                            20     Q. Did you have a chance? Exhibit 7 is -- I don't
                          21            THE DEPONENT: No. It wasn't an assumption.          21   know what it is. I don't know if it's -- it looks like
                          22         That's where she lived at.                             22   an email that's been blanked out. Does that appear to
                          23      BY MS. VENZA:                                             23   be an email?
                          24         Q. And you only knew that because you saw her.         24     A. Yes.
                          25         A. I've seen her there.                                25     Q. It looks like it's a general email, or it's a


                                                                          Page 165                                                      Page 167
                            1        Q. Prior to January 22nd.                               1   group email. Is that fair?
                            2        A. Yes.                                                 2      A. To all members, yes.
                            3        Q. Okay. And so on January 21st, her and her            3      Q. It says, "This is a general announcement sent
                            4     husband could have said, "That's it, we're done" and       4   to all members," correct?
                            5     separated. Possible?                                       5      A. Yes.
                            6           MS. FONTUGNE: Objection.                             6      Q. And I'm going to continue reading. "I am
                            7     BY MS. VENZA:                                              7   calling a special board meeting on Thursday, January
                            8        Q. Correct?                                             8   31st, 2019, at our clubhouse at 7:30 p.m. All club
                            9        A. The plot thickens here.                              9   members are welcome to attend this meeting. A Board of
                          10         Q. Okay. Bottom line is, you don't know. You           10   Director will be presenting a Motion of Suspension of
                          11      want to know, and you want to say what you want to say,   11   Samantha Ring. No further communications about this
                          12      but the truth is, you don't know where Mrs. Rodriguez     12   special board will be forthcoming. Thank you, Nicholas
                          13      lived for a fact on January 22nd.                         13   Joseph Southard, Commodore."
                          14            MS. FONTUGNE: Objection.                            14          Did I read that correctly?
                          15            THE DEPONENT: No.                                   15      A. Yes.
                          16      BY MS. VENZA:                                             16      Q. Why were you having a, quote, "special
                          17         Q. That's a fair statement by me?                      17   meeting"?
                          18         A. I won't say it's fair. I'll say no, I don't --      18      A. That's what we have -- that's in our rules and
                          19         Q. Okay.                                               19   bylaws. When you're going to bring someone up for
                          20         A. Sorry. Would it help that we have a letter          20   suspension, you call a special board meeting.
                          21      from her stating that Samantha's never spent the night    21      Q. And this was sent to Samantha Ring as well?
                          22      at that house, based on her daughter being there?         22      A. Yes, I'm sure it was.
                          23         Q. You're outside of the question. I know you          23      Q. You're sure, because you're saying that it was
                          24      want to ask me a question, but it's my job to ask you     24   to all members, and she was a member at that time,
                          25      questions.                                                25   correct?



                                                                                                           4 (Pages 164 to 167)
                                                             Executive Reporting Service

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Electronically signed by Jerry Lefler (101-146-393-3289)                                                                     867e4e90-9146-484b-8ae2-18b95be5e4a9
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                                                                          Page 168                                                       Page 170
                           1         A. Yes.                                                1   was escorted off the club ground by the Gulfport Police
                           2         Q. So she should -- whether she actually received      2   last night at the start of meeting and the meeting only
                           3      it or didn't, she should have received it, correct?       3   lasted and hour last night."
                           4         A. Yes.                                                4          Then it asks, "Does Ray have a current
                           5         Q. And all -- it states in there "All club members     5   liability insurance registered with you yet? Thanks,
                           6      are welcome to attend this meeting," correct?             6   Nicholas Joseph Southard." Did I read that correctly?
                           7         A. Yes.                                                7      A. Yes.
                           8         Q. So Samantha Ring was welcome to this meeting?       8      Q. Ray was escorted off the club grounds by the
                           9         A. Yes.                                                9   Gulfport police. Is "Ray" Ray Rodriguez?
                          10         Q. And she would have been welcome to that            10          MS. LAHART: He's asking you if that's Ray
                          11      meeting?                                                 11      Rodriguez that was escorted off?
                          12         A. Yes.                                               12          THE DEPONENT: Well, yes. Sorry. I was
                          13             MS. VENZA: I'm going to draw your attention       13      waiting for the rest of it. I'm sorry.
                          14         to Deposition Exhibit 8.                              14   BY MS. VENZA:
                          15             (Plaintiff's Exhibit 8 was marked for             15      Q. I wasn't looking at you.
                          16         identification.)                                      16          Was Ray Rodriguez a member of Boca Ciega Yacht
                          17      BY MS. VENZA:                                            17   Club on February 1st, 2019?
                          18         Q. To help you out, the part in the middle that       18      A. I'm not sure.
                          19      starts out on February 21st, 2019, I'm not going to be   19      Q. Was he short $15 on his membership payment at
                          20      asking you about that.                                   20   that time?
                          21         A. All right. Okay.                                   21      A. He might have been.
                          22         Q. So Deposition Exhibit 8 is an email forwarded      22      Q. And that membership would have been due the
                          23      originally from -- it was an email from you to Denis     23   30th of the preceding month, January 30th, based on your
                          24      Frain. That's the center of it, correct?                 24   testimony earlier.
                          25         A. Right.                                             25      A. Yeah.


                                                                          Page 169                                                       Page 171
                            1        Q. It's dated February 1st, 2019. Subject: Re:         1      Q. So this is February 1st, the 31st. So he's two
                            2    Sale into February with Snag-A-Slip, correct?              2   days late, correct?
                            3        A. Right.                                              3      A. Yes.
                            4        Q. It states, "Samantha was suspended by a 12-4        4      Q. And was it anticipated that Ray would have
                            5    vote." Did I read that correctly?                          5   spoken at that meeting and vouched for Samantha Ring's
                            6        A. Yes.                                                6   residency?
                            7        Q. Now I'm confused. So, 12 to 4 vote. Vote of         7      A. No.
                            8    the board of -- the board of Directors?                    8         MS. FONTUGNE: Objection.
                            9        A. Yes.                                                9   BY MS. VENZA:
                          10         Q. And I thought that we only had 15 people.          10      Q. That's -- The question is over. Okay.
                          11     There was 8 board members and 7 Flag members, so that's   11         Why was Ray escorted off the club grounds?
                          12     15, right?                                                12      A. Life-threatening.
                          13         A. Right.                                             13      Q. Is it because he was late on his membership
                          14         Q. Is that a typo in there?                           14   dues by two days --
                          15         A. It must be. Yes.                                   15      A. No.
                          16         Q. So, what was the vote?                             16      Q. -- and it was contended that he was no longer a
                          17         A. I don't recall now.                                17   member?
                          18         Q. That would be somewhere in meeting minutes?        18      A. No.
                          19         A. Yes.                                               19         MS. FONTUGNE: Objection.
                          20         Q. And expulsion -- In a 3/18/2019 communication,     20   BY MS. VENZA:
                          21     it's reported that by a 12 to 1 vote Samantha Ring was    21      Q. Life-threatening. I'll let you explain it. Go
                          22     expelled." Is a 12 to 1 vote possible?                    22   ahead.
                          23         A. Well, it depends on how many people that shows     23      A. We have lots of documentation where he's
                          24     up. Yes, it's possible.                                   24   threatened members of the club physically, verbally, and
                          25         Q. Continuing on with that email, it states "Ray      25   we felt he had made threats about coming that evening,



                                                                                                          5 (Pages 168 to 171)
                                                            Executive Reporting Service

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                                                                           Page 172                                                     Page 174
                            1     and we did not want any disruption in the meeting.          1         MS. FONTUGNE: Objection.
                            2        Q. So when he got there, he's escorted off the           2         THE DEPONENT: No.
                            3     club grounds by the police and nothing had even             3   BY MS. VENZA:
                            4     transpired?                                                 4      Q. Do you have any reason to dispute the accuracy
                            5        A. The meeting had started and the police                5   of public records?
                            6     department was called ahead of time, because I had other    6         MS. FONTUGNE: Objection.
                            7     members of the board that were basically scared of Ray.     7         THE DEPONENT: No.
                            8        Q. So before he was escorted off the grounds on          8   BY MS. VENZA:
                            9     February 1st, 2019, whatever time the meeting started,      9      Q. And that her address --
                          10      before he's escorted off, had he done anything or said     10         MS. RING: I have it right here.
                          11      anything?                                                  11   BY MS. VENZA:
                          12            MS. FONTUGNE: Objection.                             12      Q. Her address is 4625 29th Avenue S. Do you have
                          13            THE DEPONENT: I don't recall. Just we                13   any reason to dispute that?
                          14         didn't want him there because of previous threats       14         MS. FONTUGNE: Objection.
                          15         he's made.                                              15   BY MS. VENZA:
                          16      BY MS. VENZA:                                              16      Q. As it is reported in the public records?
                          17         Q. If there had been a disruption, that would have      17      A. No.
                          18      been reflected in your meeting minutes, correct?           18      Q. Now going to Exhibit 9, have you had a chance
                          19         A. We prevented that. Correct.                          19   to look at that?
                          20         Q. So there wasn't anything. So he wasn't               20      A. Yes.
                          21      yelling; he wasn't shouting. There was no verbal threat    21      Q. Exhibit 9 is a series of emails. Oh, sorry.
                          22      made at the meeting, or physical threat made at that       22   Let me go back.
                          23      meeting, correct?                                          23         You also forwarded -- back and forth to the
                          24            MS. FONTUGNE: Objection.                             24   previous exhibit. That was an email regarding -- the
                          25            THE WITNESS: I'm not sure.                           25   email before about Ray being escorted off the club


                                                                           Page 173                                                     Page 175
                            1     BY MS. VENZA:                                               1   grounds you forwarded to Denis Frain, correct?
                            2         Q. If there had been, it would be reflected in          2      A. Yes.
                            3     your meeting minutes --                                     3      Q. You actually sent it to Denis Frain, correct?
                            4         A. Only if the meeting started, it would be             4      A. Yes.
                            5     reflected.                                                  5      Q. And that was because why?
                            6         Q. Let me finish my question.                           6         MS. FONTUGNE: Objection.
                            7            If there had been any of those things -- And         7         THE DEPONENT: Again, he has concerns about
                            8     I'll insert your addition. If the meeting had actually      8      the slip rental from Samantha Ring. He has
                            9     started and there had been any of those things -- "those    9      concerns about Ray Rodriguez, who is a
                          10      things" being a verbal threat, verbal threat, a physical   10      contractor, independent contractor, that either
                          11      threat, yelling, or any disruption by Mr. Rodriguez,       11      has a license or doesn't have a license. And
                          12      that would be reflected in the meeting minutes, correct?   12      that's why I asked the question. He --
                          13          A. Yes.                                                13   BY MS. VENZA:
                          14          Q. Nonetheless, it was anticipated that                14      Q. Does this --
                          15      Mr. Rodriguez was going to speak on behalf of Samantha     15      A. Go ahead.
                          16      Ring and vouch for her residency; is that correct?         16      Q. Does this email that you sent to Denis Frain on
                          17          A. No.                                                 17   February 1st, 2019, say anything about slip rentals?
                          18             MS. FONTUGNE: Objection.                            18      A. No.
                          19             MS. VENZA: I'm going to move on to the next         19      Q. Does it say anything about Ray Rodriguez and
                          20          exhibit.                                               20   his occupation?
                          21             (Plaintiff's Exhibit 9 was marked for               21      A. No.
                          22          identification.)                                       22      Q. What's the meaning of this, "Does Ray have a
                          23      BY MS. VENZA:                                              23   current liability insurance registered with you yet?"
                          24          Q. Are you aware that Ann and Ray Rodriguez            24   What's that mean?
                          25      divorced March 16th, 2016?                                 25      A. Well, anyone that comes on the property of


                                                                                                           6 (Pages 172 to 175)
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                                                                                Page 176                                                     Page 178
                           1     Gulfport Marina must have insurance to work on a boat.      1   bird sanctuary.
                           2           As of that time, he had not had -- he did not         2     Q. So you were -- then it states in your email,
                           3     have a current insurance registration, and he's coming      3   original email, "Good morning. Yes, confirmed. I will
                           4     and working on boats in our yard, which is not -- it's      4   see you gentlemen tomorrow at 2 p.m. Nick."
                           5     against the law or the rights of the marina.                5        Did I read that correctly?
                           6           I mean, they have rules and regulations, and          6     A. Yes.
                           7     that's --                                                   7     Q. And then there's another email at the top from
                           8        Q. And the law, you're referring to like state           8   the City Manager to Nicholas Joseph Southard, BCYC, City
                           9     laws as well?                                               9   Manager. That would be Jim O'Reilly. And it states,
                          10        A. No. It's really just the marina.                     10   "Thank you, Jim." Correct?
                          11        Q. The marina. Who's the marina's law. The              11     A. Yes.
                          12     county?                                                    12     Q. Bottom line, you guys were going to have a
                          13        A. Gulfport.                                            13   meeting on March 6th at two o'clock. Is that fair?
                          14        Q. Gulfport County.                                     14     A. Yes.
                          15           You were concerned. You wanted to make sure          15     Q. And are you telling me that it had to do with
                          16     that -- you were concerned about Ray Rodriguez and you     16   Mitch Mosley and the wild bird sanctuary?
                          17     wanted to make sure that when he worked on boats, he was   17     A. Right.
                          18     carrying insurance. Is that what you're telling me?        18     Q. What did that have to do with the club?
                          19        A. Yes.                                                 19     A. He had concerns the club was not trying to help
                          20        Q. Because the bigger concern was whether or not        20   injured birds. He wrote --
                          21     Ray Rodriguez was in compliance with the law.              21     Q. "He," Mitch Mosley?
                          22           MS. FONTUGNE: Objection.                             22     A. Yes.
                          23     BY MS. VENZA:                                              23     Q. So he wrote something to you or to the club
                          24        Q. Correct?                                             24   about his --
                          25        A. Compliance with the rules and regulations of         25     A. Actually, I believe he wrote something to the


                                                                                Page 177                                                     Page 179
                            1    the marina.                                                 1   city and copied me, and I turned around and called him
                            2       Q. Which are laws. Rules and regulations are law,        2   and we talked. And I wanted to follow up my
                            3    correct?                                                    3   conversation back to the City Manager what our
                            4          MS. FONTUGNE: Objection.                              4   discussion was.
                            5    BY MS. VENZA:                                               5      Q. So you're telling me that this gentleman
                            6       Q. Is that a "Yes"?                                      6   contacted the city first, and not the club.
                            7       A. Yes.                                                  7      A. I think I was copied all at the same time.
                            8       Q. Move on to the next exhibit.                          8      Q. Okay.
                            9          Exhibit 9 is a series of emails. And I believe        9      A. But it referred to the club.
                          10     we could start -- I'm not sure where to start.             10      Q. So your understanding is that an individual
                          11           I think on the bottom, it starts off on              11   member --
                          12     March 5th, 2019, at 7:44 a.m. City Manager to you,         12      A. No, this is not a member.
                          13     Commodore Southard. "Thank you for your response." I       13      Q. Oh, this is somebody outside of the club?
                          14     did start too soon.                                        14      A. Right.
                          15           "Wednesday, March 6th at 2 p.m. works best for       15      Q. Okay. So this was not internal club business?
                          16     me. If this is convenient for you, please advise.          16      A. Not, internal. External.
                          17     Thank you, Jim." That's from James O'Reilly to you.        17      Q. So this was another thorn in the renewal of the
                          18           And above that is an email from you, Tuesday,        18   lease --
                          19     March 5th, 8:09:57. So that's after this one to the        19         MS. FONTUGNE: Objection.
                          20     City Manager. The City Manager is Jim O'Reilly. You        20   BY MS. VENZA:
                          21     cc'd Denis Frain. "Subject: BCYC Commodore Southard        21      Q. -- if you will.
                          22     (Mitch Mosley.)"                                           22      A. It was just bad social media.
                          23           Who's Mitch Mosley? What's that in reference         23      Q. So the club is going to look bad.
                          24     to?                                                        24      A. Right.
                          25        A. I think that individual had to do with the wild      25      Q. It's going to be a problem.


                                                                                                                7 (Pages 176 to 179)
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                                                                                Page 180                                                 Page 182
                            1       A. Right.                                                1   BY MS. VENZA:
                            2       Q. Maybe not get its lease renewed.                      2      Q. So she was -- "She," Samantha Ring was
                            3          MS. FONTUGNE: Objection.                              3   reporting to them that the gate code has been changed
                            4          THE DEPONENT: Well, we're still there.                4   and marina clients aren't able to have access to the
                            5       Yes.                                                     5   boats. "I need the gate code." That's all she said.
                            6          MS. VENZA: Moving on to the next exhibit,             6   She didn't say anything about the club, did she?
                            7       which we'll mark as Deposition Exhibit 10.               7      A. Not in this email, no.
                            8          (Plaintiff's Exhibit 10 was marked for                8      Q. But in Sam Henderson's email he immediately
                            9       identification.)                                         9   spoke of Boca Ciega Yacht Club creating the problem,
                          10     BY MS. VENZA:                                              10   true?
                          11        Q. Exhibit 10 is from -- an email from Sam              11      A. Very true.
                          12     Henderson to City Manager, Jim O'Reilly. Cc'd is Denis     12         MS. VENZA: Okay. Let's go to the next
                          13     Frain, the Harbor Master. "Subject: Re: BCYC has           13   exhibit.
                          14     restricted access to the marina parking lot/bot docks."    14   BY MS. VENZA:
                          15     Dated Wednesday, March 6th, 2019, 5:01:45 p.m.             15      Q. When Samantha Ring was suspended, there was a
                          16           At the very bottom, it's an email, what looks        16   dossier of purported infractions and rule violations by
                          17     to be was an email from Samantha Ring to the City          17   her that was presented in support of her expulsion.
                          18     Manager on March 5th, 2019, at 8:39 p.m. Samantha Ring     18   Would that be an accurate statement?
                          19     wrote, "It seems that the gate code has been changed and   19         MS. FONTUGNE: Objection.
                          20     marina clients are not able to have access to their        20         THE DEPONENT: I'm sorry. Would you restate
                          21     boats. I need the gate code. Samantha Ring."               21      that?
                          22           Did I read that accurately?                          22   BY MS. VENZA:
                          23        A. Yes.                                                 23      Q. There was a compilation -- I used the term
                          24        Q. And then after that, it appears to be                24   "dossier" -- of purported violations of rules she had
                          25     Samantha's email sent to the Mayor with the subject of     25   violated and things she had done wrong at Boca Ciega


                                                                                Page 181                                                 Page 183
                            1     the Mayor's email to everyone stating, "Hey, all. I        1   Yacht Club that was the represented basis as to why she
                            2     don't know if this is accurate, but if BCYC is creating    2   should be expelled.
                            3     a problem, we can find a new tenant that pays more and     3      A. Yes.
                            4     causes fewer headaches." Did I read that correctly?        4      Q. Would that be a fair statement? Okay.
                            5        A. Yes.                                                 5         Aside from the issues regarding Piper, okay --
                            6        Q. So it sounds like Boca Ciega Yacht Club might        6   And I use that term loosely. Aside from anything
                            7     lose its lease.                                            7   relating to Piper, had any of those other infractions
                            8        A. That's a good assumption.                            8   that made up that compilation been given to Ms. Ring
                            9        Q. And had the gate code been changed by Boca           9   before? Had she been told about them?
                          10      Ciega Yacht Club?                                         10      A. I think -- yes.
                          11         A. Not to my knowledge, no.                            11      Q. Had she been given a Notice of Reprimand?
                          12         Q. Did Boca Ciega Yacht Club do anything to            12      A. That I don't recall.
                          13      restrict Ms. Ring's access to the club?                   13         MS. VENZA: Can you mark this deposition
                          14         A. No.                                                 14      Exhibit 11.
                          15         Q. On March 5th, 2019, she was still a member of       15         (Plaintiff's Exhibit 11 was marked for
                          16      the club, correct?                                        16      identification.)
                          17         A. Yes. A member or not member, it doesn't make        17         THE WITNESS: Okay.
                          18      any difference. We don't own the slips there. She has     18   BY MS. VENZA:
                          19      the right to be at her boat. So we didn't keep her from   19      Q. It's an email forward from you to Denis Frain,
                          20      getting to her boat.                                      20   correct, in the middle of the page?
                          21         Q. Well, the Mayor assumed immediately that it was     21      A. Yes.
                          22      Boca Ciega Yacht Club creating the problem. Do you see    22      Q. And you're talking about Samantha's usage of
                          23      that?                                                     23   electricity, correct?
                          24         A. Yeah. I wonder why.                                 24      A. Yes.
                          25            MS. FONTUGNE: Objection.                            25      Q. Again you're sharing internal business with



                                                                                                           8 (Pages 180 to 183)
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                                                                         Page 184                                                        Page 186
                            1     non-club members, correct?                                1      Q. Where does the allegation that she's, quote,
                            2           MS. FONTUGNE: Objection.                            2   "stealing" electricity come from?
                            3           THE WITNESS: Sharing with part of the               3      A. When you leave it there more than just doing
                            4       landlord.                                               4   light maintenance on your boat.
                            5     BY MS. VENZA:                                             5      Q. Leaving "it," a plug?
                            6       Q. Why?                                                 6      A. Right, the plug.
                            7           MS. FONTUGNE: Objection.                            7      Q. Okay. So if you plug into an outlet at the end
                            8           THE DEPONENT: Why? It goes back to the              8   of the dock, that's a dock, and that electricity is paid
                            9       standards of the BCYC community. Accountability.        9   for by the city?
                          10        And it's showing that she's been using, at no          10      A. Right.
                          11        charge, electricity.                                   11      Q. Okay. And so people who rent a slip -- And
                          12      BY MS. VENZA:                                            12   they don't have to be members, correct?
                          13        Q. Does it say anything about using electric at no     13      A. Correct.
                          14      charge?                                                  14      Q. So anybody who rents a slip can plug in at the
                          15        A. Well --                                             15   end of their dock to do whatever they're going to do on
                          16        Q. Let's read it.                                      16   the boat?
                          17        A. It doesn't have to, because they don't charge       17      A. Light maintenance, yes.
                          18      for 110. No one gets charged for 110.                    18      Q. And either you and/or the Boca Ciega Yacht Club
                          19        Q. Let me read it aloud. "Hi Denis." This is an        19   said that she had plugged in to a slip that wasn't hers?
                          20      email from you to Denis Frain. "Hi Denis. Have you had   20      A. I don't recall that.
                          21      any conversation with Samantha about using 110           21      Q. So she's stealing it why? What was the
                          22      improperly? Didn't you have to replace her receptacle    22   stealing allegation from?
                          23      due to her using an electric heater that burnt out the   23      A. Because we saw it, a line going into her boat
                          24      receptacle? Thanks." Did I read that correctly?          24   from a 110 while she's not there. Also we heard that
                          25        A. Yes.                                                25   the receptacle had to be replaced a few times.


                                                                         Page 185                                                        Page 187
                           1         Q. Does it mention anything about taking               1      Q. Before you identified that email we have been
                           2      electricity that wasn't hers?                             2   talking about her stealing. So she was stealing because
                           3         A. If you have a blown-out receptacle --               3   she had it plugged into a 110 receptacle and it's not a
                           4         Q. Please answer my question.                          4   110?
                           5         A. No.                                                 5      A. She had it plugged in.
                           6         Q. So this email does not -- Strike that.              6          MS. FONTUGNE: Objection.
                           7            You in particular, Boca Ciega Yacht Club, has       7          THE DEPONENT: It was longer than just a few
                           8      represented that Samantha Ring stole electricity; is      8      hours. It was overnight.
                           9      that correct?                                             9   BY MS. VENZA:
                          10         A. Yes.                                               10      Q. So this is a different matter.
                          11         Q. And the stolen electricity was purportedly from    11          So she's stealing -- Boca Ciega Yacht Club's
                          12      an outlet that is available at the end of the marina?    12   description -- because she had a plug in an outlet
                          13         A. No.                                                13   longer than you thought it was appropriate.
                          14         Q. Where -- It's available where?                     14      A. Yes.
                          15         A. At each individual's dock.                         15      Q. And so that became described as "stealing." Is
                          16         Q. And is it an outlet?                               16   that right?
                          17         A. Yes.                                               17      A. Yes.
                          18         Q. Is that a fair description?                        18      Q. Any other club members ever use an outlet and
                          19         A. Yes.                                               19   plug it in longer than Boca Ciega Yacht Club thought was
                          20         Q. That she had plugged into an outlet that wasn't    20   appropriate?
                          21      hers. Is that what the --                                21      A. Yes.
                          22         A. No.                                                22      Q. And they were branded "thieves"?
                          23         Q. -- nugget of she's stealing electricity came       23      A. They were warned.
                          24      from?                                                    24      Q. And they were branded "thieves"?
                          25         A. No.                                                25      A. They were warned.



                                                                                                          9 (Pages 184 to 187)
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                                                                                  Page 188                                                Page 190
                           1       Q. Was there written documentation about that              1   occupants who were warned. Respectfully submitted,
                           2     individual, stating that they had been stealing              2   James Masson." Did I read that correctly?
                           3     electricity?                                                 3      A. Yes.
                           4       A. I don't recall that, no.                                4      Q. Okay. So the Fleet Captain, who should be the
                           5             MS. VENZA: We'll move on to the next exhibit.        5   one who knows, in 2018 didn't see Samantha Ring doing
                           6             (Plaintiff's Exhibit 12 was marked for               6   anything improper. Is that fair?
                           7       identification.)                                           7      A. Yes.
                           8     BY MS. VENZA:                                                8      Q. And he knows as a matter of club record that
                           9       Q. I'm going to be directing your attention to the         9   she wasn't even issued a verbal warning for any conduct
                          10     center. It starts on March 4th.                             10   that was within a Fleet Captain's duty and obligations.
                          11       A. Okay.                                                  11      A. So he states.
                          12       Q. Let me know when you've had a chance to read           12           MS. FONTUGNE: Objection.
                          13     that.                                                       13   BY MS. VENZA:
                          14       A. I read it.                                             14      Q. Do you have reason to doubt what he's stating
                          15       Q. I'm going to read it aloud to you. It's the            15   there?
                          16     center of that page of emails. The middle dated -- or       16           MS. FONTUGNE: Objection.
                          17     stating, "On March 4th, 2019 at 10:43 a.m., James           17           THE DEPONENT: I have no reason to believe
                          18     Masson, beachologist" -- Who is James Masson or Masson?     18      either.
                          19       A. He was last year's Fleet Captain, I believe.           19   BY MS. VENZA:
                          20       Q. What's a Fleet Captain?                                20      Q. You have no reason to doubt.
                          21       A. He's responsible for the docks and so on.              21      A. No.
                          22       Q. Help me out. For the uneducated in boating,            22           MS. VENZA: Go to the next exhibit which
                          23     what does that mean, "help out with the docks"?             23      I'll hand you, Deposition Exhibit 13.
                          24       A. He's responsible to make sure that the T docks         24           (Plaintiff's Exhibit 13 was marked for
                          25     are being used "X" amount of the days out of the month      25      identification.)


                                                                                  Page 189                                                Page 191
                           1      by the members. He's there to make sure the boats are       1         THE DEPONENT: Okay.
                           2      tied up tidy at the docks. He's also responsible for        2   BY MS. VENZA:
                           3      the smaller boats, keeping them in shape, so on.            3      Q. It's an email from you, Nicholas Joseph
                           4      Anything to do with the boats themselves.                   4   Southard, to Denis Frain. "Subject: Samantha new
                           5         Q. So the boats on the docks, is that the slips?         5   address. Date: Tuesday, March 19th, 2019, at
                           6         A. Right.                                                6   12:32:30 p.m."
                           7         Q. Are slips part of the dock? Is he looking at          7         It states "Hi Denis. I will be sending a
                           8      people to see if they're plugged in improperly?             8   certified letter and signed receipt requested to
                           9         A. He does inspections, yes.                             9   Samantha concerning her upcoming expulsion
                          10         Q. So he'd be the one who would know if somebody        10   recommendation by the board. I need her current address
                          11      was plugging in too long.                                  11   that she has given you. Thanks, Nick."
                          12         A. He should, yes.                                      12         Did I read that correctly?
                          13         Q. And what Boca Ciega Yacht Club calls when it         13      A. Yes.
                          14      says Samantha Ring is stealing, he would know about        14      Q. You had hired a private investigator in January
                          15      that, correct?                                             15   of 2019, right, to investigate Samantha Ring's
                          16         A. He should, yes.                                      16   residency, correct?
                          17         Q. I'm going to read aloud. It is an email from         17      A. Yes.
                          18      James Masson. "Dear Board. This is a brief statement       18      Q. And you are going to outside sources -- By the
                          19      that is a matter of club record. Last year Samantha        19   way, the private investigator was someone who was not a
                          20      Ring was never issued even a verbal warning for her        20   member of the Boca Ciega Yacht Club, correct?
                          21      conduct that fell under the purview of the Fleet           21      A. Correct.
                          22      Captain. In fact, she strived to follow our rules and      22      Q. You were going, on March 19th, again to the
                          23      policies the best she could. I did not notice her          23   city to ask about her address, correct?
                          24      improper use of electricity and I did not notice the       24      A. Yes.
                          25      improper use of electricity by multiple other slip         25      Q. Why were you going to them? Why was it a



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                                                                               Page 192                                                      Page 194
                           1     current address that she was giving you? What was the      1      A. Yes.
                           2     situation?                                                 2      Q. And you forwarded that email that same day,
                           3       A. Only because I believe she had moved one more         3   immediately thereafter -- She sent it at 3:57 and you
                           4     time. We wanted to make sure we had the current            4   sent it at 4:07 to Denis Frain, correct?
                           5     address. And I think she did.                              5      A. Yes.
                           6       Q. So you understood it was possible that she            6      Q. And you stated, "For your records," correct?
                           7     could have moved from January to March. She could have     7      A. Right.
                           8     moved from one address to another.                         8      Q. What record?
                           9       A. I believe she had, yes.                               9      A. For the records I knew he was going to forward
                          10       Q. And when one moves and has more than one             10   on to the city, Jim O'Reilly, to keep him abreast of the
                          11     address, there's nothing wrong with that.                 11   situation.
                          12          MS. FONTUGNE: Objection.                             12      Q. So, again you're sharing internal club business
                          13          THE DEPONENT: No. I just wanted to make              13   to an outside source.
                          14       sure that the letter got to her.                        14      A. To the landlord, correct.
                          15     BY MS. VENZA:                                             15      Q. Demonstrating that there's still problems with
                          16       Q. I understand. The next exhibit, deposition           16   the club.
                          17     Exhibit 14.                                               17          MS. FONTUGNE: Objection.
                          18          (Plaintiff's Exhibit 14 was marked for               18          THE DEPONENT: No. Just "For your
                          19       identification.)                                        19      information."
                          20     BY MS. VENZA:                                             20          MS. VENZA: I'm going to draw your attention
                          21       Q. Help you out. I'm only going to be asking you        21      to the next exhibit to be marked as deposition
                          22     from about the middle of the page up, from, "I probably   22      Exhibit 15.
                          23     won't be there on Thursday" upward.                       23          (Plaintiff's Exhibit 15 was marked for
                          24       A. Okay.                                                24      identification.)
                          25       Q. Exhibit 14 is two emails. One is from you to         25          THE DEPONENT: Okay.


                                                                               Page 193                                                      Page 195
                            1    Denis Frain forwarding an email from Samantha Ring.        1   BY MS. VENZA:
                            2    Fair statement?                                            2     Q. Exhibit 15 is an email from Samantha Ring to
                            3       A. Yes.                                                 3   you that you ultimately forwarded to Denis Frain,
                            4       Q. And the forwarded message is from Samantha Ring      4   correct?
                            5    dated March 12th, 2019, to all BCYC board at               5     A. Yes.
                            6    SailBCYC.org.                                              6     Q. The original email is from Samantha Ring dated
                            7           Is that a group at Boca Ciega Yacht Club? Is        7   March 12th, 2019, at 5:47 p.m. to you, "Subject:
                            8    that like a general -- is that all members? Do you get     8   Forward: I might not make it on Thursday. My blood
                            9    all members by sending it to that email address?           9   pressure is crazy high."
                          10        A. That's just all board members.                      10        It seems to be a continuation of the previous
                          11        Q. That's all board members. So Samantha sent an       11   exhibit, correct?
                          12     email on March 12th to all board members, "Subject: I     12     A. Yes.
                          13     might not make it on Thursday. My blood pressure is       13     Q. And in it, she states, "I've been advised to"
                          14     crazy high. I probably won't be there Thursday."          14   -- typographical error -- "go to the meeting for health
                          15            Did I read that correctly?                         15   reasons. I'm calling tomorrow to make yet another
                          16        A. Yes.                                                16   doctor appointment regarding my blood pressure for
                          17        Q. That's regarding a meeting -- I'm sorry. Was        17   either tomorrow or Thursday. I hope the board decides
                          18     it a meeting that was planned to be held?                 18   to drop the suspension and exonerates me. While you may
                          19        A. Yes.                                                19   not like me, this suspension was unfair at best. I'm
                          20        Q. That would have been the suspension meeting?        20   not quitting the club. I'm going to see what the board
                          21        A. Yes.                                                21   decides, but the direction the boards takes on Thursday
                          22        Q. And that was Samantha advising the board that       22   night is a big decision. I think you understand that.
                          23     she couldn't be there due to health reasons --            23   I hope you use your leadership skills to make things
                          24        A. Uh-huh.                                             24   work in the best interest of everyone. Samantha."
                          25        Q. -- correct?                                         25        Did I read that correctly?



                                                                                                           11 (Pages 192 to 195)
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                                                                           Page 196                                                              Page 198
                            1       A. Yes.                                                   1   or not, and the basis for same.
                            2       Q. And you then forwarded that email to, again,           2          MS. FONTUGNE: I'm going to instruct my
                            3     Denis Frain, Subject: The same subject. And you didn't      3      client not to answer, on the basis that we don't
                            4     write any text, but you put two question marks. Did I       4      have any proof that this was produced in response
                            5     read that correctly?                                        5      to a public records request.
                            6       A. Yes.                                                   6          MS. LAHART: How else would I have gotten
                            7       Q. What were those question marks about? You were         7      it?
                            8     doubting her attendance?                                    8          MS. FONTUGNE: I'm not sure. But I think
                            9       A. I think because it's the same thing she said           9      that you've got to show me something more than an
                          10      earlier. But it's just a guess. I'm not sure.              10      email that's only got our email addresses on it.
                          11        Q. You don't know why? So you don't know what            11          MS. LAHART: I don't have to show you
                          12      that means, so you don't know why you forwarded it to      12      anything.
                          13      Denis?                                                     13          MS. VENZA: In any event, you can all object
                          14        A. Just to keep him abreast. The same thing.             14      when you're going to object. I'm going to ask my
                          15      This is just a repeat of the previous one, email, about    15      question.
                          16      her blood pressure.                                        16   BY MS. VENZA:
                          17        Q. So you felt it was important to keep him              17      Q. Deposition Exhibit 16 is an email from
                          18      abreast as to whether or not she was going to attend the   18   Elisabeth Fontugne --
                          19      meeting?                                                   19          MS. FONTUGNE: Wrong. Fontugne.
                          20        A. Yes.                                                  20          MS. VENZA: -- Fontugne to Nicholas Joseph
                          21            MS. VENZA: I'm going to draw your attention          21      Southard, and then a forward -- and then a
                          22        to the next exhibit.                                     22      response.
                          23            (Plaintiff's Exhibit 16 was marked for               23   BY MS. VENZA:
                          24        identification.)                                         24      Q. So it's an email from your counsel to you, and
                          25            MS. VENZA: This is a two-page exhibit.               25   your response. Is that correct? Mr. Southard.


                                                                           Page 197                                                              Page 199
                           1        Deposition Exhibit 16.                                    1     A. Yes.
                           2            MS. FONTUGNE: I'm going to object to this             2     Q. And on July 15th, 2019, at 5:40 p.m.,
                           3        exhibit. I have no idea how this exhibit ended            3   Ms. Fontugne sent you an email stating, "Dear Nick.
                           4        up in your hands. It's obviously an exhibit               4   Good afternoon. I hope that this message finds you
                           5        that's an email from counsel to the client.               5   well. As you may recall, we cleared August 23rd, 2019,
                           6            MS. LAHART: I got it in a public records              6   on everyone's calendar for this conciliation with the
                           7        request. It's a public record. It's no longer             7   PCOHR. Late last week, the PCOHR investigator inquired
                           8        covered by attorney/client privilege.                     8   whether we could move the conciliation to July, given
                           9            MS. FONTUGNE: So given the title at the top           9   that Ms. Ring is a school teacher. By way of
                          10        of the email, where does that come into public           10   background, the academic year starts on August 14th in
                          11        records? Where is the rest of the email, then,           11   the Pinellas County School System. Given the difficulty
                          12        that you received through a public records               12   of coordinating everyone's schedule, we indicated that a
                          13        request?                                                 13   date in July would not be feasible, and again requested
                          14            MS. LAHART: I believe I provided you all of          14   August 23rd. In her response today, the PCOHR
                          15        the public records that I received from the City         15   investigator stated that August 1, 2019 (Thursday) and
                          16        of Gulfport. It would be in there.                       16   August 2nd, 2019, (Friday) were the only dates on which
                          17            MS. FONTUGNE: I haven't seen anything. Can           17   Ms. Ring and her counsel would be available for
                          18        you please send them again?                              18   conciliation. If we could not proceed to conciliation
                          19            MS. VENZA: You can do your own public                19   on one of these dates, then Ms. Ring and her counsel
                          20        records request and see what they send you.              20   would opt not to participate, at which point the agency
                          21      BY MS. VENZA:                                              21   could enter a formal finding of reasonable cause. While
                          22        Q. Have you had a chance to read Exhibit 16?             22   this struck me as an ultimatum of sorts, it is still
                          23        A. I'm not willing to comment on it.                     23   worthwhile to proceed to conciliation, even if only to
                          24        Q. I'm going to ask you some questions and then          24   gain a even keener sense of opposing counsel's strategy
                          25      we'll get to whether you're going to refuse to answer me   25   and Ms. Ring's current demand."



                                                                                                           12 (Pages 196 to 199)
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                                                                         Page 200                                                        Page 202
                           1            Did I read that correctly?                          1   you know who that is, Mr. Southard?
                           2            MS. FONTUGNE: I'm going to move to strike           2      A. Ajay.
                           3        that entire paragraph on the basis that counsel         3          MS. FONTUGNE: I'm going to instruct you not
                           4        hasn't proven that they obtained this email             4      to answer.
                           5        through a public records request.                       5   BY MS. VENZA:
                           6      BY MS. VENZA:                                             6      Q. Are you not answering my question based on your
                           7        Q. Did I read that correctly?                           7   counsel's instructions?
                           8            MS. FONTUGNE: I'm going to instruct you not         8      A. Yes, ma'am, I'm not.
                           9        to answer.                                              9      Q. Do you know who Patricia A. Toney is?
                          10      BY MS. VENZA:                                            10          MS. FONTUGNE: I'm going to instruct you
                          11        Q. Are you going to not --                             11      again not to answer.
                          12        A. No comment.                                         12   BY MS. VENZA:
                          13        Q. Are you not answering my questions based on         13      Q. You're not answering based on your attorney's
                          14      your counsel's instructions not to answer?               14   instructions; is that correct?
                          15        A. Yes.                                                15      A. That's correct.
                          16            MS. VENZA: And you are instructing him not to      16      Q. Okay. Do you know who Hollis Simmons is,
                          17        answer? And what is your ground?                       17   Mr. Southard?
                          18            MS. FONTUGNE: Because this is a                    18          MS. FONTUGNE: I'm going to instruct you
                          19        communication that's clearly protected by the          19      again not to answer.
                          20        attorney/client privilege, and you have not            20   BY MS. VENZA:
                          21        offered any evidence to show us that the               21      Q. And again you're not answering based on
                          22        privilege was waived.                                  22   counsel's instructions?
                          23              There's no indication that this was              23      A. That's right.
                          24        produced in response to a public records request.      24      Q. And you responded, "Either day at the moment,"
                          25        All of the email addresses on the top, none of         25   which was in response to her requests about


                                                                         Page 201                                                        Page 203
                           1         them are from city officials.                          1   availability. "Either day at the moment I can
                           2               So absent more information that allows           2   accommodate with Ring. However this will be my last
                           3         us to determine whether the privilege was waived,      3   accommodation for Ring. The best, Nick."
                           4         I'm going to object to everything, and I'm going       4           Did I read that correctly?
                           5         to move to strike the entire paragraph that was        5           MS. FONTUGNE: I'm going to instruct you
                           6         read from this email that was clearly from             6      again not to answer.
                           7         counsel to Mr. Southard, who is a representative       7   BY MS. VENZA:
                           8         of Boca Ciega Yacht Club.                              8      Q. Sir, are you not answering based on your
                           9            MS. VENZA: And so you won't even agree with         9   counsel's instructions?
                          10         whether I read that accurately?                       10      A. That's correct.
                          11            THE DEPONENT: I'll take my counsel's               11           MS. VENZA: Just so you know, when we do
                          12         advice. No.                                           12      bring this before the Court and we pursue costs
                          13      BY MS. VENZA:                                            13      and have you come back here again, it is based on
                          14         Q. Would you agree that counsel is explaining that    14      your counsel's actions today. Okay.
                          15      participation in conciliation is not in good faith?      15   BY MS. VENZA:
                          16      There's no intention of actually resolving the matter,   16      Q. Moving on to the next exhibit, then, since --
                          17      but to gain an even keener sense of opposing counsel's   17   is it fair to say we could summarize quickly, you're not
                          18      strategy and Ms. Ring's current demand?                  18   going to answer any questions about that email?
                          19            MS. FONTUGNE: I'm again going to instruct          19      A. That's correct.
                          20         you not to answer.                                    20      Q. And that it will be based on your presumption
                          21            THE WITNESS: I will not answer the                 21   that anytime I ask a question about Exhibit 16, your
                          22         question, based on my attorney.                       22   counsel is going to jump in and instruct you not to
                          23      BY MS. VENZA:                                            23   answer?
                          24         Q. And your response to her was, that same day,       24           MS. FONTUGNE: Objection.
                          25      July 15th, 2019, from you to her, cc Patel Ajay -- Do    25   BY MS. VENZA:


                                                                                                       13 (Pages 200 to 203)
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                                                                               Page 204                                                      Page 206
                           1         Q. Is that fair? Because we could sit here -- I        1   decided that I will skip the first night of Seder in
                           2      could ask you sentence by sentence, and we'll be here     2   order to not inconvenience the members of the club.
                           3      all day.                                                  3   Since changing just the date of my vote did not seem to
                           4         A. That's fair.                                        4   be an option, I guess we will leave it on the first
                           5         Q. Okay.                                               5   night of Passover. Samantha Ring."
                           6                                                                6        Did I read that correctly?
                           7                                                                7     A. Yes.
                           8                                                                8     Q. Okay. And then you forwarded that email to
                           9                                                                9   Nick -- I'm sorry. You forwarded that email to Denis
                          10                                                               10   Frain on Tuesday, April 9th, 2019, at approximately
                          11                                                               11   1:58:28 p.m., correct?
                          12                                                               12     A. Yes.
                          13                                                               13     Q. And you stated "FYI."
                          14                                                               14     A. Right.
                          15                                                               15     Q. You didn't sign it with any ending. Just your
                          16                                                               16   name, Nick J. Southard, correct?
                          17                                                               17     A. Right.
                          18                                                               18     Q. You didn't sign it "Best," did you?
                          19                                                               19     A. No.
                          20                                                               20     Q. Why were you forwarding this email to Denis
                          21                                                               21   Frain, a non-Boca Ciega Yacht Club member?
                          22                                                               22     A. As he is aware, we did try to accommodate
                          23                                                               23   Ms. Ring. We actually were -- We actually agreed to
                          24                                                               24   move our General meeting to accommodate her. And he's
                          25                                                               25   aware of that.


                                                                               Page 205                                                      Page 207
                           1          MS. VENZA: Moving on. Deposition Exhibit              1         And then I forward on to him saying that she
                           2       17.                                                      2   does not want that. Just keep him in the loop. Because
                           3          (Plaintiff's Exhibit 17 was marked for                3   what I tell him I think is going to go straight to the
                           4       identification.)                                         4   sea.
                           5          MS. VENZA: While he's reading that,                   5      Q. And whether she's going to a meeting on one
                           6       Ms. Fontugne, have you done an independent public        6   date or another date, how is that significant to the
                           7       records request?                                         7   city?
                           8          Have you done a public records request.               8      A. Well, we've never changed a board meeting,
                           9          MS. FONTUGNE: No, I have not.                         9   ever, to accommodate an individual, but we did this
                          10          THE DEPONENT: Okay.                                  10   time.
                          11     BY MS. VENZA:                                             11      Q. Why?
                          12       Q. Exhibit 17 is two emails, one from Samantha          12      A. Because we wanted to be fair.
                          13     Ring to you, and then a forward of that email. Is that    13      Q. Because --
                          14     a fair statement?                                         14      A. And we have other Jewish members in our club as
                          15       A. Yes.                                                 15   well.
                          16       Q. The originating email is from Samantha Ring          16      Q. So to be fair -- So this had to be religious
                          17     dated April 9th, 2019, 11 a.m., approximately, to         17   reasons?
                          18     Commodore, all BCYC board and all BCYC board -- I guess   18      A. Yes.
                          19     just a double email.                                      19      Q. Your understanding, was that based on a
                          20          So one to Commodore at Boca Ciega Yacht Club         20   conflict with the date of a meeting, a religious
                          21     and one to all board members at the Sail Boca Ciega       21   holiday --
                          22     Yacht Club. Is that accurate?                             22      A. Right.
                          23       A. Yes.                                                 23      Q. -- that Ms. Ring couldn't attend. That was
                          24       Q. "Subject. Re: BCYC April General meeting             24   your understanding, correct?
                          25     change." And she states, "After some reflection, I've     25      A. Right.



                                                                                                         14 (Pages 204 to 207)
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                                                                           Page 208                                                     Page 210
                            1       Q. So you wanted to accommodate her religion?             1      Q. This Exhibit 17 is dated April 9th, 2019,
                            2       A. And offer her another date.                            2   correct? I just want to confirm that date, April 9th,
                            3       Q. Okay. Because religious accommodation is               3   2019.
                            4     something provided by civil rights, correct?                4         Tuesday, April 9th, 2019, 1:58:28 p.m. is your
                            5           MS. FONTUGNE: Objection.                              5   email forward, correct?
                            6           THE DEPONENT: I'm not sure if it is or not.           6      A. On -- You're talking about the one I can't
                            7     BY MS. VENZA:                                               7   speak about.
                            8       Q. So why the sudden interest in accommodating?           8      Q. Hers is in the middle. I'm having trouble too.
                            9       A. I guess because I'm a Christian and I believe          9         Her email to you is April 9th, 2019, at
                          10      people have their right to their own faith.                10   11:03:52 a.m., correct? Exhibit 17. Dead center.
                          11        Q. And you had never in the history of the club          11      A. Oh, 17.
                          12      ever changed a meeting date?                               12      Q. I'm sorry. Exhibit 17, dead center. Her email
                          13        A. Not for a General meeting, to my knowledge, we        13   to you, April 9th, 2019, 11:03:52 am, correct?
                          14      never had.                                                 14      A. Yes.
                          15        Q. You said 80 years, right? Eighty years it's           15      Q. You forwarded it that same day, Tuesday, April
                          16      been going on?                                             16   9th, correct?
                          17        A. That's correct.                                       17      A. Yes.
                          18        Q. In all those 80 years, in all the members that        18         MS. VENZA: Now I'll draw your attention to --
                          19      have come through the doors, 200 a year, no one else has   19      I'm going to ask to be marked as deposition
                          20      ever had a religious conflict?                             20      Exhibit 18.
                          21        A. I can only speak --                                   21         (Plaintiff's Exhibit 18 was marked for
                          22            MS. FONTUGNE: Objection.                             22      identification.)
                          23            THE DEPONENT: -- for the years that I                23         THE DEPONENT: Okay. These are minutes of
                          24        worked -- that I've been a member of the                 24      the meeting.
                          25        club.                                                    25   BY MS. VENZA:


                                                                           Page 209                                                     Page 211
                            1    BY MS. VENZA:                                                1       Q. Deposition Exhibit 18, what is it?
                            2       Q. Okay. And you've been a member of the club,            2       A. It's the minutes of a special meeting.
                            3    was it --                                                    3       Q. Okay.
                            4       A. 2004.                                                  4       A. Board meeting.
                            5       Q. So we're talking 15 years?                             5       Q. And that meeting occurred April 8th, 2019, at
                            6       A. Right.                                                 6   7 p.m.?
                            7       Q. During those 15 years, no one had any religious        7       A. Yes.
                            8    conflict on any date --                                      8       Q. Do you have and reason to dispute that?
                            9       A. To my knowledge, no.                                   9       A. No.
                          10        Q. -- that they brought to your attention.               10       Q. And that's just a mere five hours after your
                          11        A. No.                                                   11   April -- Sorry. Strike that. I'll get to that in a
                          12        Q. Did you ever deny Denis Frain the right -- I'm        12   second. No, actually before.
                          13     not sure "the right." Did you ever deny Denis Frain's       13          So this is April 8th, 2019, 7 p.m., which is
                          14     attendance as a guest of a Boca Ciega Yacht Club member     14   the day -- half a day before your April 9th, 2019,
                          15     at a meeting?                                               15   forward we just talked about in Exhibit 17 about the
                          16        A. Would you repeat that question, please?               16   request to accommodate and moving a meeting date for
                          17        Q. Okay. Denis Frain.                                    17   religious reasons.
                          18        A. Right.                                                18       A. Okay.
                          19        Q. Okay. Was he ever denied access to a meeting          19       Q. Right? This is the day before.
                          20     at Boca Ciega Yacht Club?                                   20       A. Yeah.
                          21        A. Not to my knowledge.                                  21       Q. Okay. We go through some introductions.
                          22        Q. Do you have any recollection of an incident           22   "Please set down cell phones." We have a quorum.
                          23     where Samantha Ring requested to bring Mr. Frain as a       23   Visitors welcome. No visitors present. It starts a
                          24     guest to a meeting?                                         24   little halfway down, Commodore's report. "Nicholas
                          25        A. I don't recall that request.                          25   Joseph Southard: Good evening everyone."


                                                                                                         15 (Pages 208 to 211)
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                                                                         Page 212                                                             Page 214
                           1             Did I read that accurately?                        1   kick her out. We're going to vote to kick her out."
                           2         A. Yes.                                                2   And then you took it to the General meeting.
                           3         Q. That's reflecting you speaking during the           3     A. Well, that was our game plan, right.
                           4      meeting. Is that fair?                                    4     Q. Okay. Dropping down, right in the middle, it
                           5         A. Yes.                                                5   reads, "Samantha Ring has filed two charges with PCOHR,
                           6         Q. And you stated, "this is a difficult time for       6   Pinellas County Office of Human Rights, against BCYC.
                           7      the club. We've already passed the resolution for the     7   The first complaint was regarding an ADA service animal,
                           8      final expulsion of Samantha Ring."                        8   and the second complaint was regarding retaliation for
                           9             MS. FONTUGNE: Objection. The word "final"          9   her expulsion. Both of these charges have been combined
                          10         is not in the document. And also where's the          10   and these will be addressed by our attorneys by the end
                          11         rest of the document? We need the whole meeting       11   of this week. These are moving forward. Samantha Ring
                          12         minutes.                                              12   has also filed a lawsuit with the United States District
                          13             MS. VENZA: Okay. I apologize if I misread         13   Court, Middle District of Florida, Tampa Division.
                          14         it. I'm tired at this point. I think everyone         14   These allegations are similar to those filed with the
                          15         here.                                                 15   PCOHR."
                          16             MS. FONTUGNE: Where's the rest of the             16        Did I read that correctly?
                          17         meeting minutes?                                      17     A. Yes.
                          18             MS. VENZA: I'll tell you what. If I had           18     Q. Did you later represent in other meeting
                          19         all of it, it would be attached, as we did with       19   minutes and or publications that Samantha Ring and/or
                          20         the other exhibit.                                    20   her attorney had dismissed the Pinellas County Office of
                          21                Whatever is -- but I also can select           21   Human rights -- I'm sorry.
                          22         whatever exhibit and read whatever selection I        22        Did you represent that the Pinellas County
                          23         want as part of my deposition. If you want to go      23   Office of Human rights had dismissed her complaint?
                          24         further, you can.                                     24     A. Not at this time.
                          25                In any event, I'm going to continue with       25     Q. No. Later. My question was -- Taking your


                                                                         Page 213                                                             Page 215
                           1         the meeting minutes, which are going to be             1   mind off of Exhibit 18 for a minute.
                           2         available to you as counsel of Boca Ciega Yacht        2          At a later time, in either later meeting
                           3         Club.                                                  3   minutes or --
                           4            MS. FONTUGNE: So, we're going to just lodge         4      A. Yes.
                           5         an objection on the basis that this exhibit is         5      Q. -- in some other publication, did you represent
                           6         incomplete. It's just partial meeting minutes.         6   that the Pinellas County Office of Human rights had
                           7         And that's all.                                        7   dismissed the complaint filed by Ms. Ring?
                           8            MS. VENZA: These are beyond form at this            8      A. That's correct.
                           9         point.                                                 9          MS. FONTUGNE: Objection.
                          10            MS. RING: You can pull them up online.             10   BY MS. VENZA:
                          11      BY MS. VENZA:                                            11      Q. And that is an incorrect statement as to what
                          12         Q. "Nicholas Joseph Southard: Good evening            12   transpired.
                          13      everyone. This is a difficult time for the club. We've   13          MS. FONTUGNE: Objection.
                          14      already passed the resolution for the expulsion of       14          THE DEPONENT: Okay.
                          15      Samantha Ring." Did I read that correctly?               15   BY MS. VENZA:
                          16         A. Yes.                                               16      Q. Do you agree with me there's a difference
                          17         Q. Explain that. "We already passed the               17   between PCOHR dismissing a complaint and one being
                          18      resolution." So, what's the resolution? When does that   18   withdrawn by the petitioner, or complainant?
                          19      occur?                                                   19      A. Yes.
                          20         A. That occurred at the previous board meeting.       20      Q. Just like a ticket, going to traffic court, if
                          21         Q. And that was just among the board members?         21   you will. If you go in front of the judge and the judge
                          22         A. The board, right.                                  22   says, "Dismissed," that's very different than the
                          23         Q. Something you've already explained to me before    23   prosecutors -- I'm sorry -- yes, the prosecutor saying,
                          24      in another scenario. It goes before the board. They      24   the officer saying "Withdrawn," not going after anybody.
                          25      had the resolution. They said, "yep, we're going to      25          MS. FONTUGNE: Objection.



                                                                                                         16 (Pages 212 to 215)
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                                                                           Page 216                                                       Page 218
                           1            THE DEPONENT: Yes.                                    1         THE DEPONENT: I didn't write the minutes.
                           2      BY MS. VENZA:                                               2     The secretary did. That's her own opinion, not
                           3         Q. Okay. And your representation that PCOHR had          3     mine.
                           4      dismissed Ms. Ring's charges against BCYC was in a          4   BY MS. VENZA:
                           5      General meeting, correct?                                   5     Q. The second -- Who's your secretary, Boca Ciega
                           6            MS. FONTUGNE: Objection.                              6   Yacht Club's secretary?
                           7            THE DEPONENT: I'm not sure, to be honest              7     A. Jenn Buckley.
                           8         with you. I mean, I'm just not sure.                     8     Q. Related to Jenn Buckley?
                           9      BY MS. VENZA:                                               9     A. Uh-huh.
                          10         Q. And if you agree with me, as you did, that           10     Q. That's "Yes"?
                          11      there's a distinction between a dismissal and a            11     A. Yes.
                          12      withdrawal, representing that there had been a dismissal   12     Q. Do you agree, does Jim Buckley(sic) do a good
                          13      is a misrepresentation.                                    13   job?
                          14            MS. FONTUGNE: Objection.                             14         MS. FONTUGNE: Objection.
                          15      BY MS. VENZA:                                              15         THE DEPONENT: In my opinion, yes.
                          16         Q. Correct?                                             16   BY MS. VENZA:
                          17         A. I'm not an attorney. I might have misspoke.          17     Q. And in your time with Boca Ciega Yacht Club,
                          18      I'm a layman to this.                                      18   working with him, have you believed that he strives to
                          19         Q. This isn't a legal term.                             19   do a good job?
                          20         A. Well, I just figured that it's no longer in the      20     A. It's a "she."
                          21      process. It's been stopped. We're not moving forward       21     Q. She.
                          22      on it. You're not moving forward on it.                    22         MS. FONTUGNE: Objection.
                          23         Q. So instead of the word "misrepresentation,"          23         THE DEPONENT: Yes, I do.
                          24      would you agree that it's inaccurate to say --             24   BY MS. VENZA:
                          25         A. Yes.                                                 25     Q. And so on this occasion that she would include


                                                                           Page 217                                                       Page 219
                            1       Q. Okay.                                                  1   an emphasis like that to reflect an emphasis that she
                            2          MS. FONTUGNE: Objection.                               2   observed?
                            3    BY MS. VENZA:                                                3      A. I don't know. I've seen the minutes. It
                            4       Q. Continuing on, it states, right in the dead            4   didn't really stand out in front of me. But that's not
                            5    center now, "Tonight we're trying to avoid any other         5   my job.
                            6    charges from" -- And this is bold, italicized and            6      Q. I'm sorry. What didn't?
                            7    underlined. It is the only text in this meeting minutes      7      A. I read it. I didn't see it as the way you did.
                            8    which has all three emphasis. "Samantha as she has now       8   But yeah, it's highlighted.
                            9    asked, since she is to be proclaiming to be of the           9      Q. Is there anywhere on this text excerpt of
                          10     Jewish faith." That part, end of highlighting, "that we     10   Exhibit 18, anywhere else that is in bold?
                          11     move our general membership meeting from April 19th to      11      A. No.
                          12     another date to avoid the beginning of the Jewish           12      Q. Is there anywhere else that has underlining?
                          13     Passover celebration which begins on April 19th and ends    13      A. No.
                          14     April 27th."                                                14      Q. Is there anywhere else that has italics?
                          15           Did I read that correctly?                            15      A. No.
                          16        A. Yes.                                                  16      Q. Okay. So that would be the meeting minutes
                          17        Q. And did I describe correctly the emphasis that        17   creator, who we've said is Buckley.
                          18     was put upon the statement that, "Samantha as she has       18      A. Yes, that's her.
                          19     now asked since she's to be proclaiming of the Jewish       19      Q. Okay. Would be the one to have done that.
                          20     faith"?                                                     20      A. Yes.
                          21        A. Yes.                                                  21      Q. Okay. In any event, the words -- forget
                          22        Q. And those are -- the meeting minutes are trying       22   whether they're emphasized or not. Take that out of the
                          23     to reflect your emphasis during the meeting about those     23   picture.
                          24     sentiments. Is that fair?                                   24         It states that "Samantha as has now asked since
                          25           MS. FONTUGNE: Objection.                              25   she's proclaiming to be of Jewish faith."



                                                                                                         17 (Pages 216 to 219)
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                                                                         Page 220                                                       Page 222
                           1            Were you questioning what religion she was?        1   rodents.
                           2            MS. FONTUGNE: Objection.                           2      Q. No one takes ownership of the cat?
                           3            THE DEPONENT: No.                                  3      A. Not really. It's like a community thing.
                           4      BY MS. VENZA:                                            4   Occasionally one person one year will be responsible for
                           5         Q. "Proclaiming" sounds a lot like someone is         5   its shots or whatever.
                           6      pretending.                                              6      Q. What's the cat's name?
                           7            MS. FONTUGNE: Objection.                           7      A. Mia.
                           8            THE DEPONENT: No.                                  8      Q. How long has the cat been there, as far as you
                           9      BY MS. VENZA:                                            9   know?
                          10         Q. Because this is just several hours before         10      A. That cat's been there four years, five years.
                          11      you're sending an email to Denis Frain about how        11   Prior to that, we had Matty in there 15 years.
                          12      accommodating the club is going to be for religious     12      Q. So you had a cat, and it's used for, you're
                          13      reasons.                                                13   saying, rodent control?
                          14         A. That's correct.                                   14      A. Really, yes.
                          15         Q. Okay. But you had no doubt on April 8th, 2019,    15      Q. Because the clubhouse can't be protected from
                          16      at 7 p.m. that Samantha Ring was of the Jewish faith.   16   the outside elements. Is that fair?
                          17      Is that what you're telling us?                         17      A. Well, the doors are left open, yes.
                          18         A. I had no reason to challenge it.                  18      Q. The doors are left open and rodents come in?
                          19         Q. Did you have any reason to doubt it?              19      A. Right.
                          20         A. No.                                               20      Q. Insects come in?
                          21            MS. FONTUGNE: Objection.                          21      A. As we're not -- we have no heat or AC, so
                          22            MS. VENZA: The next exhibit. Mark it as           22   things are open.
                          23         deposition Exhibit 19.                               23      Q. So it's a correct statement by me: All kinds
                          24            (Plaintiff's Exhibit 19 was marked for            24   of things come in, rodents, insects?
                          25         identification.)                                     25      A. Yes. Which we have pest control.


                                                                         Page 221                                                       Page 223
                           1            THE DEPONENT: Okay.                                1      Q. That's all I need with that exhibit.
                           2      BY MS. VENZA:                                            2          Do you have any reason to dispute that Ms. Ring
                           3         Q. It's an email forward from Jimmy Meyer. I'm        3   has a disability?
                           4      sorry. It's an email to Jimmy Meyer to you, and your     4          MS. FONTUGNE: Objection.
                           5      response to him, correct?                                5          THE WITNESS: I have no reason to dispute
                           6         A. Yes.                                               6      it.
                           7         Q. There's a cat in the club it's referencing. Is     7   BY MS. VENZA:
                           8      there a club cat?                                        8      Q. You're not a doctor, correct?
                           9         A. There is.                                          9      A. No.
                          10         Q. So there is a cat that is an animal that is --    10      Q. You don't have any medical training?
                          11      runs around in the clubhouse. Is that true?             11      A. No.
                          12         A. Yes.                                              12      Q. There's -- I can show you this. The March
                          13         Q. So is it a club pet?                              13   19th, 2019 letter from the Board of Directors to
                          14            MS. FONTUGNE: Objection.                          14   Samantha Ring talking about her expulsion.
                          15            THE DEPONENT: Pet, mascot. Yes.                   15          Do you see that? It was previously, and
                          16      BY MS. VENZA:                                           16   multiple times over, attached as an exhibit to the
                          17         Q. Is it -- Okay. So mascot. But it's allowed in     17   complaint, most recently as Exhibit F to the Second
                          18      the clubhouse?                                          18   Amended Complaint.
                          19         A. Yes.                                              19          I just want to draw your attention to the 12-1
                          20         Q. Isn't that a violation of the rules?              20   vote.
                          21         A. Not for that cat.                                 21      A. Okay.
                          22            MS. FONTUGNE: Objection.                          22      Q. Do you see that? So, how could we explain the
                          23      BY MS. VENZA:                                           23   different numbers in the board voting?
                          24         Q. Why not? It's a special cat?                      24      A. Well --
                          25         A. Yes. That cat is a hunter, and we have            25      Q. The board voting --


                                                                                                       18 (Pages 220 to 223)
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                                                                          Page 224                                                       Page 226
                            1        A. I can't explain -- I think the other one was a       1      A. Yes.
                            2     misquote when I said 14-2, whatever it was. It ended up    2      Q. Do you know who that is referring to?
                            3     being 16.                                                  3      A. Doug is a board member.
                            4           But we don't always have members, board members      4      Q. So as a -- this is sent by a board member, and
                            5     that show up, so the count will be different. If it's a    5   the board member was soliciting members and expressly
                            6     full house, it will be 15-0. Anything less than that       6   states "encouraging them to come to the next General
                            7     would be people not attending.                             7   meeting to vote to expel Samantha Ring," correct?
                            8        Q. So do you have a minimum number you need to          8          MS. FONTUGNE: Objection.
                            9     vote?                                                      9   BY MS. VENZA:
                          10         A. We have a quorum, yes.                              10      Q. That's what it states, correct?
                          11            MS. VENZA: I'm done with that exhibit. I'm          11      A. That's what it states, yes.
                          12         going to ask the court reporter to mark deposition     12          MS. FONTUGNE: Objection.
                          13         Exhibit 20.                                            13   BY MS. VENZA:
                          14            (Plaintiff's Exhibit 20 was marked for              14      Q. "And we will have scripts." "We," being that
                          15         identification.)                                       15   he's a board member, he's referring to the board.
                          16            THE DEPONENT: Okay.                                 16          "We will have scripts of what to say when you
                          17      BY MS. VENZA:                                             17   call," correct?
                          18         Q. Were you a proponent of the campaign to have        18          MS. FONTUGNE: Objection.
                          19      Samantha Ring expelled?                                   19          THE DEPONENT: No. There's other people
                          20            MS. FONTUGNE: Objection.                            20      that are not on the board who had the same
                          21            THE DEPONENT: No.                                   21      feelings as this board member did, so I wouldn't
                          22      BY MS. VENZA:                                             22      say this is just from the board, no.
                          23         Q. Were you someone who participated in writing a      23   BY MS. VENZA:
                          24      script of what people were to say when they called to     24      Q. Do you have any knowledge or information about
                          25      have Samantha Ring voted out?                             25   the scripts?


                                                                          Page 225                                                       Page 227
                            1       A. No.                                                   1      A. No.
                            2       Q. I'm going to read Exhibit 20. "This is a              2      Q. Do you know whether that was contrived
                            3    reminder that we will be having a meeting of people that    3   information that was being circulated so that everybody
                            4    are willing to make calls to BCYC members encouraging       4   had the same story?
                            5    them to vote to the next General meeting to vote to         5         MS. FONTUGNE: Objection.
                            6    expel Samantha Ring. I don't know what I said.              6         THE DEPONENT: No.
                            7    Encouraging them to come to the income General meeting      7   BY MS. VENZA:
                            8    to vote to expel Samantha Ring. We will have scripts of     8      Q. You don't know?
                            9    what to say when you call. The meeting will be at           9      A. I don't know, other than whatever points were
                          10     7:00 p.m. on Thursday at BCYC."                            10   brought out over the last few meetings, that he wanted
                          11           Do you have any information or knowledge about       11   to make sure that all the club members were aware of
                          12     this meeting?                                              12   what has happened over the past 45 days during this
                          13        A. I had heard about it.                                13   process.
                          14        Q. Was this meeting not -- it said the "General         14      Q. The bottom line: You don't know what was in
                          15     meeting." Is this not the General meeting?                 15   the scripts.
                          16        A. This is for the General meeting.                     16      A. No.
                          17        Q. Did you attend the General meetings?                 17      Q. Okay. So we're speculating. Okay.
                          18        A. I'm the Commodore. Yes.                              18         Here are the people -- I'm reading now from
                          19        Q. Okay. And --                                         19   Exhibit 20. "Here are the people I am suggesting we ask
                          20        A. This was going on by the members.                    20   to call other members. If you're not able to call, just
                          21        Q. Do you have any knowledge about the scripts?         21   let me know." Names: Tony and Gerri Angel?
                          22        A. I had heard about them, but I haven't actually       22         Gerri, by the way is G-E-R-R-I. New members
                          23     seen the scripts, per se.                                  23   and some lifetime members. Lee Nell, Doug, John
                          24        Q. See at the bottom very bottom it says "Thanks,       24   McCloud, Garth (racers), Joye (women's groups) Richard,
                          25     Doug"?                                                     25   Don and Jenn Rogers, Beth, Jenn B., Marty, Nick,



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                                                                               Page 228                                                   Page 230
                           1     Jonathan Cornwell."                                         1      A. Well, she has a cheat sheet. Actually it's
                           2           Did I read that correctly?                            2   posted in the Windward.
                           3       A. Yes.                                                   3      Q. On October 9th, 2019 -- I'm sorry -- October
                           4       Q. And do you know why that group of people was           4   7th, 2019, "For the good of the club. Tony Angel
                           5     being recommended or being suggested to call other          5   brought to the attention of the board that there was a
                           6     members?                                                    6   person, Elisabeth Hendricks, who was reprimanded for
                           7       A. No. And I never called a member.                       7   allowing someone to live aboard her boat. Annie
                           8           MS. VENZA: Okay. Thank you.                           8   Davidson spent the last two weeks sleeping on
                           9     BY MS. VENZA:                                               9   Elizabeth's boat. In the last few days Annie was seen
                          10       Q. On October 7th, 2019, you had a board meeting,        10   moving a fan and personal items off the boat. What are
                          11     correct?                                                   11   we going to do about this? We NEED to be consistent."
                          12       A. Yes.                                                  12         Do you remember that --
                          13       Q. Meeting minutes were taken, correct?                  13      A. Yes.
                          14       A. Yes.                                                  14      Q. -- matter being brought to the attention?
                          15       Q. At that time, the Assistant Treasurer brought         15         So the club understood and recognized that
                          16     to the attention that you had 14 members who were          16   there was an inconsistency within it in terms of its
                          17     overdue but have not been charged a late fee. Do you       17   application --
                          18     recall that?                                               18      A. No.
                          19       A. Vaguely, yes.                                         19      Q. -- of live-aboards.
                          20       Q. What are the current number of members in BCYC?       20      A. No, we did not recognize that. I think if
                          21       A. It ranges from between 180 and 200.                   21   you --
                          22       Q. So you have a PR and Advertising Committee?           22      Q. Tony Angel said, "We NEED," and "NEED" was
                          23       A. We did.                                               23   emphasized, all capital letters. "We NEED to be
                          24       Q. BCYC has that.                                        24   consistent." So he was explaining that there had not
                          25       A. We did. That person resigned. Jonathan                25   been consistency in the past, correct?


                                                                               Page 229                                                   Page 231
                           1     Cornwell.                                                   1         MS. FONTUGNE: Objection.
                           2       Q. You still have that committee?                         2         THE DEPONENT: What's the date on that? I'm
                           3       A. They're --                                             3      sorry.
                           4       Q. The club actually does?                                4   BY MS. VENZA:
                           5       A. No. The committee is nonfunctional.                    5      Q. That's okay. October 7th, 2019.
                           6       Q. It states that -- on October --                        6      A. That could be correct, yes.
                           7       A. It's open, which means we don't have a                 7      Q. And the Gabber -- Going back to that. The
                           8     committee chairperson.                                      8   Gabber is what again? It's just a newsletter in the
                           9       Q. October 7th of 2019, it is listed as among the         9   community?
                          10     committees that were in existence, correct?                10      A. It's a magazine that comes out weekly, with
                          11       A. Right.                                                11   advertisements.
                          12       Q. And it states that it was open, and you're            12      Q. To the public.
                          13     explaining to me now that's because the committee member   13      A. To the public.
                          14     had left?                                                  14      Q. It's not internal, like the Wind --
                          15       A. The chairperson did, yes.                             15      A. Windward is for club members. The Gabber is
                          16       Q. I'm sorry. The chairperson. Not unlike the            16   for the Gulfport community.
                          17     person who preceded you as Rear Commodore.                 17      Q. And on October 7th, 2019, you wanted to -- you
                          18          MS. FONTUGNE: Objection.                              18   were questioning the club members about whether a letter
                          19     BY MS. VENZA:                                              19   by you to the Gulfport Mayor should be printed in the
                          20       Q. Somebody left a post.                                 20   Gabber; is that right?
                          21       A. Right.                                                21      A. Yes.
                          22       Q. You actually have a Refreshments and Birthday         22      Q. So you wanted to take internal business matters
                          23     Committee, correct?                                        23   of the club and put them out to the public.
                          24       A. We do. My lovely wife.                                24         MS. FONTUGNE: Objection.
                          25       Q. She remembers all the birthdays?                      25         THE DEPONENT: That's what I asked the



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                                                                          Page 232                                                        Page 234
                            1        board, but we decided not to.                           1   S-P-O-O-R, was retained for the purposes of evaluating
                            2     BY MS. VENZA:                                              2   whether the articles -- the amended articles were in
                            3        Q. But you were considering it?                         3   compliance with federal law?
                            4        A. I opened it up for discussion. I didn't              4      A. Yes.
                            5     consider it. I just opened it up for discussion.           5     Q. He was retained for that purpose?
                            6        Q. On September 30th, 2019, an attorney was hired       6         MS. FONTUGNE: Objection.
                            7     by Boca Ciega Yacht Club to review the amended and         7         THE DEPONENT: Right.
                            8     restated Articles of Incorporation. Is that correct?       8   BY MS. VENZA:
                            9        A. Yes.                                                 9      Q. He doesn't mention anything. And I'll attach
                          10         Q. And that attorney's whole job was just simply       10   the exhibit if I need to. September 30th, he doesn't
                          11      to make sure -- And I'm reading from his letter -- "met   11   mention that, correct?
                          12      all of the requirements of the State of Florida for a     12     A. Correct.
                          13      not for profit corporation and the requirements of the    13      Q. He is just talking about tax compliance and
                          14      Internal Revenue Service as an organization exempt from   14   IRS -- Internal Revenue Code, correct?
                          15      Section 501(c)7 of the Internal Revenue Code."            15      A. Yes.
                          16             My question is, it was for tax reasons, if you     16         MS. VENZA: Give me a second. We can take a
                          17      will, that that attorney was hired, this particular       17      break and I'm going to confer with her.
                          18      attorney, in reviewing your Articles of Incorporation,    18            (Recess held at this time.)
                          19      was for the purpose of ensuring conformity with not for   19   BY MS. VENZA:
                          20      profit tax requirements.                                  20     Q. Have you seen the investigative report by
                          21             MS. FONTUGNE: Objection.                           21   Jeffrey Lorik, the Pinellas County Office of Human
                          22             THE DEPONENT: Not entirely, no. It was --          22   Resources? It's dated May 29th, 2019.
                          23         That's part of it. But also looked to make sure        23     A. I'm not sure if I have or not.
                          24         that it was laid out properly for Articles of          24      Q. I only have one copy. I'd just ask you to just
                          25         Incorporation. Not just taxes, but everything          25   look at it to tell me if you have seen that before.


                                                                          Page 233                                                        Page 235
                           1         else that's involved in creating the articles.          1      A. I don't recall seeing this, no.
                           2         It hadn't been done since 1965, I believe.              2      Q. As far as you know, has this been relayed to
                           3      BY MS. VENZA:                                              3   you -- "this" being the investigative report and the
                           4         Q. Your Articles of Incorporation?                      4   findings -- has this been relayed to you by anyone?
                           5         A. That's the last time it's been reviewed.             5      A. Not to my knowledge, no.
                           6         Q. By an attorney.                                      6      Q. The Pinellas County Office of Human Resources
                           7         A. I don't know. I wasn't there. But it's the           7   didn't send you a copy.
                           8      last time we filed. Let me put it that way.                8      A. No.
                           9         Q. You said the "last time it was reviewed." The        9      Q. Were you aware that on May 29th, 2019, in the
                          10      last time Articles of Incorporation were filed was in     10   report, that the investigator stated, "It has been found
                          11      1965?                                                     11   that PCOHR has authority to investigate BCYC as a place
                          12         A. Right. That's the last one.                         12   of public accommodation."
                          13         Q. And you're presuming that an attorney looked at     13         In other words, that it had determined that the
                          14      them before they were filed.                              14   club was not exempt, it was not a private club? Were
                          15             MS. FONTUGNE: Objection.                           15   you aware of that?
                          16             THE DEPONENT: Yes.                                 16         MS. FONTUGNE: Objection.
                          17      BY MS. VENZA:                                             17         THE DEPONENT: I don't recall.
                          18         Q. So the last time it was looked at in 1965 --        18   BY MS. VENZA:
                          19      I'm sorry. The last time they were looked at was in       19      Q. Have you heard that there had been a
                          20      1965. Possibly the last time an attorney looked at them   20   determination that the club was not a private club?
                          21      was in 1965, is what you're saying, correct?              21         MS. FONTUGNE: Objection.
                          22         A. Right.                                              22         THE DEPONENT: Concerning Samantha Ring's
                          23             MS. FONTUGNE: Objection.                           23      case?
                          24      BY MS. VENZA:                                             24   BY MS. VENZA:
                          25         Q. Do you know if Mr. -- the attorney, Mr. Spoor,      25      Q. Or in any ways.



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                            1        A. No.                                                   1   other members and use this script, and that party was
                            2        Q. In any case.                                          2   called a "call party"?
                            3        A. I only heard it's allegations. Nothing's been         3       A. I'm not sure. I know I wasn't invited.
                            4     proven.                                                     4       Q. Okay. Well --
                            5        Q. Okay. So my question is about Pinellas County         5          MS. RING: I think his name is on there.
                            6     Office of Human rights has done an investigation. You       6   BY MS. VENZA:
                            7     are aware of that, correct?                                 7       Q. Had you heard about such an event?
                            8        A. Yes.                                                  8       A. I might have, yes. I've heard a lot of
                            9        Q. Okay. Were you aware that they concluded,             9   different things going on at that time. A lot of things
                          10      based on their investigation, that Samantha Ring or        10   were swirling.
                          11      anybody else, it didn't matter, that Boca Ciega Yacht      11       Q. Well, your name -- if you look at Exhibit 20,
                          12      Club was not a private club?                               12   among the names suggested by Doug, one of the board
                          13         A. No.                                                  13   members, to call other members was "Nick." Is there any
                          14            MS. FONTUGNE: Objection.                             14   other "Nick"?
                          15      BY MS. VENZA:                                              15       A. I'm the only "Nick," but he didn't ask me about
                          16         Q. You were not aware of that, is what you're           16   this.
                          17      telling me.                                                17       Q. Who's making the decisions about this
                          18         A. That's correct.                                      18   litigation for Boca Ciega Yacht Club?
                          19         Q. Okay. Were you aware that the PCOHR had stated       19       A. I am.
                          20      and determined on May 29th, 2019, that, "Based upon the    20       Q. Do you have to get approval by the board?
                          21      available evidence, there's reasonable cause to believe    21       A. Not until I get a final decision on the
                          22      that an unlawful act of discrimination based on            22   outcome.
                          23      disability has occurred."                                  23       Q. What do you mean?
                          24            MS. FONTUGNE: Objection.                             24       A. Everything's in our attorney's hands right now.
                          25      BY MS. VENZA:                                              25       Q. Well, if the attorney said right now --


                                                                           Page 237                                                       Page 239
                           1         Q. Were you aware of that?                               1         MS. FONTUGNE: Objection.
                           2         A. I know that the total argument was not in our         2   BY MS. VENZA:
                           3      favor. That's all I know.                                   3      Q. "You can stand up on the table can do a jig and
                           4         Q. Okay. So did you share that fact, that it was         4   make this go away" --
                           5      not in your favor, with the members of the club?            5         MS. FONTUGNE: Object to counsel's question.
                           6         A. No.                                                   6   BY MS. VENZA:
                           7         Q. Did you seek to obtain a copy of that report?         7      Q. Would that be up to you?
                           8         A. No.                                                   8      A. Would I jig? Probably.
                           9         Q. Did you share it with board members?                  9      Q. So that would be up to you.
                          10         A. No.                                                  10      A. Yes.
                          11         Q. Why not?                                             11      Q. Were you aware, or did you participate in
                          12         A. Because we're in litigation.                         12   scripts that were given to members at the actual
                          13             MS. FONTUGNE: Objection.                            13   physical meeting where it was voted -- where Ms. Ring's
                          14      BY MS. VENZA:                                              14   expulsion was voted on?
                          15         Q. And so --                                            15      A. You have to repeat the question. I'm sorry.
                          16         A. So I don't disclose that. Only with my               16      Q. Were you aware or did you participate in the
                          17      attorney at that time.                                     17   drafting of scripts that were given to members of Boca
                          18         Q. "That" being the findings whether it's a             18   Ciega Yacht Club --
                          19      private --                                                 19      A. No, I was not involved in any --
                          20         A. I didn't -- I did not discuss with board             20      Q. Are you aware of such scripting being given to
                          21      members ongoing litigation that's occurring until we got   21   members? I've just got to get the question out.
                          22      final judgment.                                            22      A. Okay.
                          23         Q. Was there a call party? A party of members --        23      Q. Were you aware of scripts being given to
                          24      with regard to Exhibit 20, was there a party where the     24   members of Boca Ciega Yacht Club to read at the, I
                          25      members were going to get together and thus call the       25   believe it was the April 2019 expulsion meeting?



                                                                                                          22 (Pages 236 to 239)
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                                                                          Page 240                                                        Page 242
                            1        A. I believe I was aware, yes.                          1     A. Right.
                            2        Q. How did you learn about it?                          2          MS. VENZA: I'm done. But that's for right
                            3        A. Just heard people talking about that they            3     now. Unless your counsel has questions.
                            4     wanted to make sure they got the facts out.                4          MS. FONTUGNE: I just have a few follow-ups
                            5        Q. "Heard people," just other members?                  5     for you.
                            6        A. Other members.                                       6            You said something about a video. Are
                            7        Q. Any names you can think of?                          7     you going to be doing any -- showing him a video
                            8        A. No, not really.                                      8     or anything like that? I just want to clarify
                            9        Q. They wanted to get the facts out. I don't            9     before I --
                          10      understand what that means. They wanted to put in         10          MS. VENZA: I had no intention of doing so.
                          11      written form what they wanted people to say?              11          MS. FONTUGNE: Okay. I just heard something
                          12         A. No. Well, what they wanted to bring out is          12     about a video, so I was asking.
                          13      facts as far as what the charges are being brought out,   13          MS. VENZA: We can leave right now. If you
                          14      giving their questions or their thoughts on the charges   14     didn't ask any questions, we'd be done.
                          15      being brought out. Just wanted to make sure they got it   15          MS. FONTUGNE: Well, no, that's all right.
                          16      straight. Trying to be accurate, that's all.              16     I'll ask my questions.
                          17         Q. People are allowed -- Let's break it down. At       17               CROSS-EXAMINATION
                          18      a meeting, members are allowed to speak; is that right?   18   BY MS. FONTUGNE:
                          19         A. Yes.                                                19     Q. Mr. Southard, at the beginning of this
                          20         Q. It's a limited time frame that they can speak?      20   deposition many hours ago you were asked about --
                          21         A. We try to, yes.                                     21          MS. VENZA: I'm going to object.
                          22         Q. How long? Like two minutes?                         22   BY MS. FONTUGNE:
                          23         A. Two minutes.                                        23     Q. -- the Boca Ciega Yacht Club application for
                          24         Q. And you have 180 to -- 180 to 200 members. Can      24   membership. Do you remember that?
                          25      every single one speak if they want to?                   25     A. Yes.


                                                                          Page 241                                                        Page 243
                           1            MS. FONTUGNE: Objection.                             1      Q. Okay. And so based on your long membership in
                           2            THE DEPONENT: Not if it's on the same thing          2   the club and your recollection of the application, there
                           3         that's already been stated.                             3   are no questions on the application concerning race,
                           4      BY MS. VENZA:                                              4   correct?
                           5         Q. So if the issue is Samantha Ring and expulsion,      5      A. That's correct.
                           6      how many people can speak about that?                      6      Q. And there are no questions on that application
                           7            MS. FONTUGNE: Objection.                             7   concerning an applicant's religion, are there?
                           8            THE DEPONENT: As many that has something             8      A. No.
                           9         new to say.                                             9      Q. And there's no question on that application
                          10      BY MS. VENZA:                                             10   concerning an applicant's disability status, is there?
                          11         Q. And so the purpose of the scripts was to have       11      A. No.
                          12      as many things presented as possible to make her look     12      Q. Now, are there questions on that application
                          13      bad.                                                      13   about an applicant's felony convictions?
                          14            MS. FONTUGNE: Objection.                            14      A. Yes.
                          15            THE DEPONENT: No. Just give the facts.              15      Q. All right. And so you also testified later
                          16      BY MS. VENZA:                                             16   that once an applicant becomes a member, the applicant
                          17         Q. Were any facts in support of her not being          17   gets a key to the clubhouse. Is that right?
                          18      expelled given?                                           18      A. Yes.
                          19         A. Not that I'm aware of.                              19      Q. With that key to the clubhouse, a member of the
                          20         Q. Have you -- At any other meeting, have scripts      20   club can enter the clubhouse and leave the clubhouse
                          21      been given out to other members to read?                  21   whenever they want; is that right?
                          22         A. I'm not aware of it.                                22      A. Yes.
                          23         Q. And 15 years you've been with --                    23      Q. Now, I want to clarify a few things on the
                          24         A. I'm not aware of it.                                24   record where there was a lot of confusion about dates.
                          25         Q. -- the Boca Ciega Yacht Club, right?                25         You were asked about a proposed amendment to



                                                                                                         23 (Pages 240 to 243)
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                                                                           Page 244                                                          Page 246
                            1     the bylaws regarding capping membership of the club to      1      A. Yes.
                            2     250 members. Do you remember that?                          2      Q. All right. Looking at this exhibit, is there
                            3        A. Yes.                                                  3   any indication on this page of who this message was sent
                            4        Q. That amendment, was that discussed in 2018 or         4   to?
                            5     was that presented in 2019?                                 5      A. No.
                            6        A. I believe in 2019.                                    6      Q. Is there any indication on this page that the
                            7        Q. Okay. And then you were also asked about              7   person named "Doug" who signed the message at the end
                            8     membership dues and about late fees and when late fees      8   actually sent this message to anyone?
                            9     are assessed. Do you remember that earlier?                 9      A. No.
                          10         A. Yes.                                                 10      Q. Now, as part of this deposition, Mr. Southard,
                          11         Q. Okay. And so you testified that late fees are        11   you were asked about a number of emails reflecting
                          12      assessed 10 days after the original due date when a        12   communications from you to the city officials, and vice
                          13      member has not paid the dues, correct?                     13   versa. Do you remember that?
                          14         A. Yes.                                                 14      A. Yes.
                          15         Q. But at that point after that 10-day period,          15      Q. Now, the club has a rule that there will only
                          16      that member is not suspended for membership, correct?      16   be one authorized live-aboard in the basin surrounding
                          17         A. That's correct.                                      17   the club; is that right?
                          18         Q. Instead, the automatic suspension from               18      A. That's right.
                          19      membership would occur after 30 days from the due date     19      Q. And that rule is a rule that's imposed by the
                          20      for the dues goes by, correct?                             20   City of Gulfport as part of the club's lease with the
                          21         A. That's correct.                                      21   city, correct?
                          22         Q. Now, during this deposition you were asked a         22      A. Correct.
                          23      number of questions about Ray Rodriguez. Do you            23      Q. So if there's a concern that Ms. Ring was
                          24      remember that?                                             24   living on her boat without permission, that's a concern
                          25         A. Yes.                                                 25   that also belongs to the City of Gulfport, correct?


                                                                           Page 245                                                          Page 247
                            1        Q. Has Ray Rodriguez made any claim in this              1     A. Correct.
                            2     particular suit?                                            2     Q. In Exhibit Number 10, there was an email dated
                            3        A. Not to my knowledge.                                  3   March 6th, 2019, an email that Ms. Ring had sent to the
                            4        Q. Okay. And you were asked a lot of questions           4   City of Gulfport concerning somebody had changed the
                            5     about Ann Nu's address. Is Ann Nu a party to this           5   gate code.
                            6     lawsuit that we're here to discuss today?                   6        That gate code that we talked about, is that
                            7        A. No.                                                   7   code controlled by anyone from the club?
                            8        Q. Has Boca Ciega Yacht Club ever rented out the         8     A. Yes.
                            9     clubhouse to the public for a specific function or event    9     Q. Who controls the gate code?
                          10      that did not involve any members?                          10     A. Normally the Security Committee.
                          11         A. No.                                                  11     Q. And who is on the Security Committee around
                          12         Q. Has the City of Gulfport ever used the               12   March 6th, 2019?
                          13      clubhouse for a specific function or event?                13     A. Don Rogers.
                          14         A. Not to my knowledge.                                 14     Q. Before seeing this email from Samantha Ring to
                          15         Q. Are any board members of Boca Ciega Yacht Club       15   city officials that was marked as Exhibit 10, had you
                          16      also City Council members for the City of Gulfport?        16   heard anything from the city about anything about the
                          17         A. No.                                                  17   gate code being changed?
                          18         Q. Are there any City Council members for the City      18     A. No.
                          19      of Gulfport who are members of Boca Ciega Yacht Club?      19     Q. Had anyone who was a club member at that time
                          20         A. No.                                                  20   said anything to you, the Commodore, about the gate code
                          21         Q. You were presented with a number of exhibits.        21   being changed around that time?
                          22      And we will not go through all of them, because they're    22     A. No.
                          23      lengthy. I just wanted to clarify a few little things.     23     Q. Do you remember receiving any other reports
                          24            First of all, with respect to Exhibit Number         24   from anyone about the gate code being changed and
                          25      20, do you recall this exhibit?                            25   members having trouble accessing their slips next to the



                                                                                                          24 (Pages 244 to 247)
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                                                                         Page 248                                                        Page 250
                           1      clubhouse around this time?                               1      Q. Now, Mr. Southard, earlier in your deposition
                           2         A. No.                                                 2   you were asked about the investigative report that had
                           3         Q. Now, in Exhibit 11, you were shown an email         3   been prepared at your request by Edwards investigating.
                           4      that had to do -- that was dated March 7th, 2019, and     4   Do you remember that?
                           5      that you had forwarded to Denis Frain, the Harbor         5      A. Yes.
                           6      Master, concerning Ms. Ring using the 110 electricity     6      Q. Was the date of that report ever placed on to
                           7      outlet on the dock. Do you remember this email?           7   the record at that time? Were you ever asked about the
                           8         A. Yes.                                                8   date of that report?
                           9         Q. Now, this email, it's an email that you             9      A. I don't recall.
                          10      originally received from some other members of BCYC,     10      Q. Now, you were asked about some partial board
                          11      correct?                                                 11   meeting minutes that were introduced as Exhibit 18. Do
                          12         A. Yes.                                               12   you remember that?
                          13         Q. And this message was forwarded in its entirety     13      A. Yes.
                          14      to the Harbor Master, Mr. Frain, correct?                14      Q. Would you agree with me that when you're
                          15         A. Yes.                                               15   speaking of somebody who's got a particular religious
                          16         Q. And so as part of that forwarded message, Denis    16   faith, in common parlance you would say that that person
                          17      Frain, the Harbor Master, also received the original     17   is proclaiming his or her faith? Do you agree with me?
                          18      message that you received from these BCYC members,       18      A. Yes.
                          19      correct?                                                 19      Q. And finally, you were asked about scripts that
                          20         A. Yes.                                               20   were being used at the expulsion meeting for Ms. Ring,
                          21         Q. Can you please read the original message that      21   which was held on April 19th, 2019. Do you remember
                          22      was sent to you on the record?                           22   that?
                          23            MS. VENZA: What exhibit are you on?                23      A. Yes.
                          24            MS. FONTUGNE: Eleven.                              24      Q. Now, this was a meeting where members were
                          25            THE DEPONENT: From Captain Sandbar. "Nick          25   going to speak to the general membership and to the


                                                                         Page 249                                                        Page 251
                           1         and John, not more than a month ago Denis told us      1   board about Ms. Ring and the reasons for her expulsion,
                           2         not to plug boats into the city paid electricity       2   correct?
                           3         outlets. Tony at the marina said that they can         3      A. Correct.
                           4         be used temporarily to cut out" -- I'm sorry --        4      Q. Doesn't it stand to reason that somebody giving
                           5         "temporarily to cut or drill something on the          5   a speech would prepare a script in advance so as to be
                           6         dock but not intended for members to get free          6   able to convey the whole message to the meeting?
                           7         electricity to their boats. This is a big issue        7      A. Yes.
                           8         with Denis and the board knows it. Samantha's          8         MS. FONTUGNE: I don't have any more
                           9         fully aware of this but continues to disregard         9      questions.
                          10         the city's request putting us once again in a bad     10              REDIRECT EXAMINATION
                          11         position. These two photos were taken today           11   BY MS. VENZA:
                          12         after she left for work. Regards, Richard."           12      Q. The scripts, someone who is going to give a
                          13      BY MS. FONTUGNE:                                         13   speech maybe has a speech writer, maybe prepares the
                          14         Q. Now, Mr. Southard, looking at this email           14   speech themselves, correct?
                          15      message, no photos are attached to the message that we   15         MS. FONTUGNE: Objection.
                          16      have before us today, correct, on Exhibit 11?            16         THE DEPONENT: Yes.
                          17         A. Correct.                                           17   BY MS. VENZA:
                          18         Q. Okay. And this message in its entirety was         18      Q. And the scripts we're talking about is that
                          19      forwarded by you to Mr. Frain, correct?                  19   members -- some people were preparing statements for
                          20         A. Yes.                                               20   other members of the club to say, correct?
                          21         Q. Is the "Denis" referenced in the message that      21      A. Could be.
                          22      you originally received from these other members the     22      Q. That's what is going on with the scripts.
                          23      same Denis Frain who is the Harbor Master for the City   23      A. Could be, yes.
                          24      of Gulfport?                                             24      Q. It was, as you testified earlier, that it was
                          25         A. Yes.                                               25   because members of the board wanted to tell other



                                                                                                        25 (Pages 248 to 251)
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                                                                           Page 252                                                           Page 254
                           1      members of the board what to say and how to say it.         1        You said there could be two people, neither of
                           2             MS. FONTUGNE: Objection.                             2   whom are board members, who are getting married and
                           3             THE DEPONENT: More to be -- more for                 3   invite a whole host of guests who are not club members.
                           4         clarity.                                                 4   They only need to have the sponsorship of a club member,
                           5      BY MS. VENZA:                                               5   correct?
                           6         Q. But the bottom line is, that's what was going         6     A. We're not charging for anything.
                           7      on. They were -- whether you want to say they helped        7         MS. FONTUGNE: Objection.
                           8      them say it better, some members of the board were          8        THE DEPONENT: We're not charging for
                           9      giving a script so that another member of the board is      9     anything.
                          10      being told what to say and how to say it.                  10   BY MS. VENZA:
                          11             MS. FONTUGNE: Objection.                            11     Q. Okay. I stand corrected. So that isn't
                          12             THE DEPONENT: Possibly.                             12   "renting." Do they rent the club at any time?
                          13      BY MS. VENZA:                                              13     A. No.
                          14         Q. Did Samantha Ring's use of electricity have          14     Q. So they never rent the club?
                          15      anything to do with her disability?                        15     A. That's correct.
                          16             MS. FONTUGNE: Objection.                            16     Q. So it's a question of using the club. So they
                          17      BY MS. VENZA:                                              17   don't rent the club. So these people that get married,
                          18         Q. Or whether she has a disability under the ADA        18   sometimes they have a D.J.
                          19      or does not have a disability under the ADA?               19     A. Could.
                          20             MS. FONTUGNE: Objection.                            20     Q. And might the D.J. plug into something to get
                          21             THE DEPONENT: I don't know. I don't think           21   the electricity going?
                          22         so.                                                     22     A. Yes.
                          23      BY MS. VENZA:                                              23     Q. That might be use that might go on for several
                          24         Q. Have anything to do with a service animal?           24   hours. Is that fair?
                          25         A. Not to my knowledge, no.                             25     A. Yes.


                                                                           Page 253                                                           Page 255
                           1         Q. Have anything to do with the status of the club       1      Q. You might have lights going. Is that fair?
                           2      as private or not private?                                  2      A. Yes.
                           3             MS. FONTUGNE: Objection.                             3      Q. Some people might bring fans? I don't mean
                           4             THE DEPONENT: It violates our policy with            4   these kind of fans. I mean the fans.
                           5         the city.                                                5      A. Yeah.
                           6      BY MS. VENZA:                                               6      Q. And they're going to plug it in and use
                           7         Q. But it doesn't determine whether you are a            7   electricity. Is that fair?
                           8      private club or a public club, not whether you get your     8      A. Yes.
                           9      lease renewed.                                              9      Q. And they didn't pay any rent, though, right?
                          10         A. No.                                                  10      A. No.
                          11             MS. FONTUGNE: Objection.                            11      Q. So they're not paying any fees towards
                          12      BY MS. VENZA:                                              12   electricity, right?
                          13         Q. If Boca Ciega Yacht Club is discriminating,          13      A. No.
                          14      that is a concern of the city, correct?                    14      Q. Is that a correct statement by me?
                          15             MS. FONTUGNE: Objection.                            15      A. Yes.
                          16             THE DEPONENT: It's a concern of the club.           16      Q. With regard to the rats, okay, Mia the cat and
                          17      BY MS. VENZA:                                              17   the other predecessor cats that go after the rats, do
                          18         Q. And it's a concern of the city.                      18   those rats have keys?
                          19         A. I would think so.                                    19      A. I haven't seen any have any.
                          20             MS. FONTUGNE: Objection.                            20      Q. So my point being that the doors are open to
                          21      BY MS. VENZA:                                              21   the clubhouse. Rats are getting in there.
                          22         Q. Your counsel asked a question and said at any        22         People bigger than rats can get in there if the
                          23      time, that the club -- at any time, was the club renting   23   doors are open, right?
                          24      for events that did not involve club members? And the      24         MS. FONTUGNE: Objection.
                          25      answer to that is "Yes."                                   25         THE WITNESS: Yes. But we have security for


                                                                                                             26 (Pages 252 to 255)
                                                             Executive Reporting Service

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                                                                          Page 256                                                          Page 258
                           1         that. Hammers for that.                                 1               RECROSS-EXAMINATION
                           2      BY MS. VENZA:                                              2   BY MS. FONTUGNE:
                           3         Q. But the doors are open.                              3     Q. Ms. Ring's boat that was seen on that day by
                           4         A. And we're not worried about liability with a         4   these two members who reported the use of electricity,
                           5      rat.                                                       5   that boat belongs to her, correct?
                           6         Q. Okay. But the doors are open.                        6     A. Yes.
                           7         A. They can be. They're only open if a member is        7     Q. A boat by the name of "Wizard"?
                           8      there. That's club policy.                                 8     A. I believe so.
                           9         Q. But the doors are open.                              9     Q. Absent an emergency situation, like a weather
                          10         A. If a member is there, yes.                          10   situation like a hurricane, does any other member of
                          11         Q. Okay. Thank you.                                    11   BCYC have the prerogative to go aboard Ms. Ring's boat,
                          12         A. Sure.                                               12   Wizard, without her permission to see whether
                          13            MS. FONTUGNE: I've got one more question.           13   electricity is actually being used?
                          14            MS. VENZA: Sorry.                                   14     A. No.
                          15            MS. FONTUGNE: Did you have a question?              15     Q. Okay. Now, earlier in this deposition you were
                          16      BY MS. VENZA:                                             16   asked about whether you had any reason to doubt that
                          17         Q. Insects come in and out of the open doors,          17   Ms. Ring had a disability. Do you remember that
                          18      correct?                                                  18   question?
                          19            MS. FONTUGNE: Objection.                            19     A. Yes.
                          20            THE DEPONENT: Sure.                                 20     Q. As we stand here today, do you have any
                          21         Q. Bees are insects?                                   21   evidence that Ms. Ring has a disability?
                          22         A. I guess so.                                         22     A. No.
                          23            MS. FONTUGNE: Objection.                            23     Q. Since you've known Ms. Ring, have you seen
                          24            THE DEPONENT: Yes.                                  24   Ms. Ring in the clubhouse while she was a member?
                          25      BY MS. VENZA:                                             25     A. I'm sorry. Repeat the question.


                                                                          Page 257                                                          Page 259
                            1        Q. My esteemed co-counsel raised a good point.          1      Q. Okay. Actually, strike that. Let me give you
                            2           Just because a plug is plugged into a wall           2   a better question.
                            3     outlet does not mean anything is being powered or used.    3         During the time that Ms. Ring was a member, did
                            4           MS. FONTUGNE: Objection.                             4   you ever hear about or see Ms. Ring get stung by a bee
                            5     BY MS. VENZA:                                              5   inside the Boca Ciega Yacht Club clubhouse?
                            6        Q. Is that fair?                                        6      A. No.
                            7        A. That's why I asked the question of Denis Frain,      7      Q. Did you ever hear of or see Ms. Ring have an
                            8     "Has there been any receptacles been replaced?" And his    8   allergic reaction to sunflowers or sunflower oil inside
                            9     answer says "several." So yes, it can mean it's being      9   the Boca Ciega Yacht Club clubhouse?
                          10      used.                                                     10      A. No.
                          11         Q. But it can mean it's not being used.                11      Q. Did you ever hear about the paramedics being
                          12         A. That's correct.                                     12   called to provide assistance to Ms. Ring because of an
                          13         Q. I could plug in my phone but have it turned         13   allergic reaction or any other medical condition at the
                          14      off.                                                      14   Boca Ciega Yacht Club clubhouse?
                          15         A. That's why we ask that you unplug it after          15      A. Not to my knowledge.
                          16      you're done.                                              16         MS. LAHART: This is beyond the scope of
                          17         Q. But if a plug is seen inserted into an outlet,      17      redirect.
                          18      it does not necessarily mean that electricity is coming   18         MS. FONTUGNE: No, I don't think so. You
                          19      out of it.                                                19      asked about disability. I'm allowed to inquire.
                          20         A. No.                                                 20         MS. LAHART: It was like four hours ago.
                          21         Q. That's a correct statement by me?                   21   BY MS. FONTUGNE:
                          22         A. Yeah.                                               22      Q. Mr. Southard, have you ever witnessed Ms. Ring
                          23            MS. VENZA: Okay. Thank you.                         23   have a panic attack in all the time that she was a club
                          24            MS. FONTUGNE: I have a follow-up to that            24   member?
                          25         want.                                                  25      A. I don't recall, no.



                                                                                                          27 (Pages 256 to 259)
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Electronically signed by Jerry Lefler (101-146-393-3289)                                                                         867e4e90-9146-484b-8ae2-18b95be5e4a9
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                           1          MS. FONTUGNE: No further questions.                    1      (Plaintiff's Exhibit 21 was marked for
                           2                REDIRECT EXAMINATION                             2   identification.)
                           3     BY MS. VENZA:                                               3      MS. VENZA: That's all I have.
                           4       Q. Your counsel asked about or made a big -- I            4      MS. FONTUGNE: Okay.
                           5     think it was Exhibit 20, and an email -- the script         5      COURT REPORTER: Read or waive?
                           6     email. The email -- the email about -- I'll just read       6      MS. FONTUGNE: We'll read.
                           7     it. From the gentleman named Doug. We were determining      7      MS. VENZA: I want to put on the record our
                           8     who Doug was. Named everybody, named somebody named         8   reservation of right to continue this deposition.
                           9     "Nick," that email. She was questioning -- we don't         9   I'm not closing it now. To continue this
                          10     know the source. There's only an excerpt from it.          10   deposition, because the defendant did not provide
                          11          MS. FONTUGNE: Objection.                              11   responses to interrogatories and requests for
                          12     BY MS. VENZA:                                              12   production of documents that were due on
                          13       Q. That email read, "This is a reminder" -- This         13   October 9th.
                          14     is from Doug. "This is a reminder that we'll be having     14         Unverified material was sent yesterday
                          15     a meeting of people that are willing to make calls to      15   evening, when counsel knew that both myself and
                          16     BCYC members encouraging them to come to the next          16   co-counsel were driving from our home offices to
                          17     General meeting to vote to expel Samantha Ring. We will    17   this part of the state for the depositions. We
                          18     have scripts of what to say when you call. The meeting     18   did not have time to even review them.
                          19     will be at 7:00 p.m. on Thursday at BCYC." And that's      19         But regardless of that, they were
                          20     referring to the call party. "Here are the people I'm      20   unverified, and thus, according to the 11th
                          21     suggesting we ask to call other members. If you're not     21   Circuit, they're meaningless.
                          22     able to call, just let me know."                           22         It appears to be at this time that
                          23          And they were Tony and Gerri Angel, Lee Nell,         23   counsel now has responses, which she's going to
                          24     Doug, John McCloud, Garther (racers), Joye, J-O-Y-E        24   go over with the deponent, Mr. Southard, and have
                          25     (women's groups), Richard, Don and Jenn Rogers, Beth,      25   him verify same and then provide it to us.


                                                                                Page 261                                            Page 263
                           1      Marty, Nick -- you -- Jonathan Cornwell. "Please attend    1          This is after the conclusion of the
                           2      this meeting if you can. If you know of others that are    2   deposition. Therefore, we reserve the right to
                           3      willing to call, please let me know. Thanks, Doug."        3   depose him further and we are leaving this
                           4            That -- I'm going to hand you in a minute -- is      4   deposition open.
                           5      an email that was forwarded to Samantha Ring.              5       MS. FONTUGNE: And I'm going to object to
                           6            Do you know who Rey Lastra is? R-E-Y                 6   all that on the basis that the answers were
                           7      L-A-S-T-R-A.                                               7   provided and that the only reason that they
                           8         A. I do not, no.                                        8   weren't verified yesterday was because the
                           9         Q. Do you have any reason to dispute that he's a        9   deposition was today and the deponent would be
                          10      member of Boca Ciega Yacht Club?                          10   here.
                          11         A. The doors are closed here. No, I'm just             11        (Said deponent wished to read and sign the
                          12      kidding.                                                  12   deposition, and the taking of this deposition was
                          13            I don't know who that individual is.                13   concluded at 7:16 p.m.)
                          14         Q. Do you have any reason to dispute he's a member     14
                          15      of Boca Ciega Yacht Club?                                 15
                          16         A. I can't say one way or another.                     16
                          17            MS. FONTUGNE: Objection.                            17
                          18            THE DEPONENT: I don't recall that person's          18
                          19         name.                                                  19
                          20      BY MS. VENZA:                                             20
                          21         Q. I'm going to hand you -- And we're going to         21
                          22      attach that as an exhibit. That will be Exhibit 21.       22
                          23      That shows that that was -- "that" being the earlier      23
                          24      exhibit, was a forward of an email.                       24
                          25         A. Okay.                                               25


                                                                                                     28 (Pages 260 to 263)
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                           1             CERTIFICATE OF REPORTER OATH                         1     PLEASE ATTACH TO THE DEPOSITION OF: NICHOLAS JOSEPH
                                                                                                  SOUTHARD TAKEN ON OCTOBER 14, 2019, IN THE CASE OF RING
                           2
                                                                                              2   VS BOCA CIEGA YACHT CLUB, INC.
                           3      STATE OF FLORIDA                                            3             ERRATA SHEET
                           4                                                                  4
                           5      COUNTY OF PINELLAS                                                  DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES
                           6                                                                  5     __________________________________________________
                                                                                                    Page No. Line No. Change       Reason
                           7
                                                                                              6     __________________________________________________
                           8             I, the undersigned authority, certify that           7     __________________________________________________
                           9      Nicholas Joseph Southard personally appeared before me      8     __________________________________________________
                          10      on October 14, 2019, at 12:56 p.m., and was duly sworn.     9     __________________________________________________
                                                                                             10     __________________________________________________
                          11             WITNESS my hand and official seal this
                                                                                             11     __________________________________________________
                          12      October 14, 2019.                                          12     __________________________________________________
                          13                                                                 13     __________________________________________________
                          14                                                                 14     __________________________________________________
                          15                                                                 15     __________________________________________________
                                                                                             16     __________________________________________________
                          16
                                                                                             17     __________________________________________________
                          17                                                                 18
                          18                                                                        Under penalties of perjury, I declare that I have
                          19                                                                 19     read the foregoing document and that the facts
                                                                                                    stated therein are true.
                          20                Jerry P. Lefler RPR CRR CM
                                                                                             20
                                            Notary expires May 17, 2022                             __________________________________________________
                          21                                                                 21     DATE            Nicholas Joseph Southard
                          22                                                                                       (10142019ns)
                          23                                                                 22
                                                                                             23
                          24
                                                                                             24
                          25                                                                 25



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                            1              CERTIFICATE OF COURT REPORTER                      1          Executive Reporting Service
                                                                                                       13555 Automobile Boulevard, Suite 100
                            2                                                                 2           Clearwater, Florida 33762
                            3     STATE OF FLORIDA                                                           (727) 823-4155
                            4                                                                 3
                                                                                                                         November 14, 2019
                            5     COUNTY OF PINELLAS                                          4
                            6                                                                       ELISABETH FONTUGNE, ESQ.
                            7        I, Jerry P. Lefler, Court Reporter, certify that I       5     Cole, Scott & Kissane
                                                                                                    4301 West Boy Scout Boulevard, #400
                                  was authorized to and did stenographically report the       6     Tampa, Florida 33607
                            8     deposition of Nicholas Joseph Southard; that a review of          Elisabeth.Fontugne@csklegal.com
                                  the transcript was requested; and that the transcript is    7
                                                                                                    Re: RING VS BOCA CIEGA YACHT CLUB, INC.
                           9      a true and correct record of my stenographic notes.         8
                          10         I FURTHER CERTIFY that I am not a relative,                    Dear Ms. Fontugne:
                                  employee, or attorney, or counsel of the parties, nor am    9
                                                                                                        The deposition of Nicholas Joseph Southard
                          11      I a relative or employee of any of the parties'            10     taken on October 14, 2019, in the above-styled case
                                  attorneys or counsel connected with the action, nor am I          is ready for review. Please have your client make
                          12      financially interested in the action.                      11     an appointment to review the transcript in our
                                                                                                    office.
                          13         DATED this October 14, 2019.                            12
                          14                                                                            In the alternative, if you have ordered a copy
                          15                                                                 13     of the transcript, and will be handling reading and
                                                                                                    signing, have your client note any corrections on
                          16                                                                 14     the errata sheet provided.
                          17                                                                 15         The review must be complete on or before
                          18                                                                        December 15, 2019, and the errata sheet returned
                                                                                             16     to: Executive Reporting Service, 13555 Automobile
                          19                                                                        Boulevard, Suite 100, Clearwater, Florida 33762, so
                                              ___________________________                    17     it may be included with the original transcript.
                          20                                                                 18         Please contact our office if there are any
                                                                                                    questions you may have. Thank you for your prompt
                                              Jerry P. Lefler RPR CRR CM                     19     and careful attention to this matter.
                          21                                                                 20                     Sincerely,
                                                                                             21
                          22                                                                 22
                          23                                                                 23
                          24                                                                 24
                                                                                                                   Executive Reporting Service
                          25                                                                 25



                                                                                                              29 (Pages 264 to 267)
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